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      EXHIBIT N
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Forensic Building Science, Inc.                   Brian Craig Johnson, P.E.
2168 Juliet Avenue                                7600 Chicago Avenue
St. Paul, Minnesota 55105                         Richfield, Minnesota 55423
Phone: 651-222-6509                               Phone: 612-296-5775
www.forensicbuildingscience.com                   brianjohnsonpe@gmail.com
____________________________________________

                    Storm Damage Report
                                          for

                                  Brabo International
                                  11909 Auburn Road
                                   Laredo, TX 78045




                             Texas Certificate of Authority F-19508
                                    Expires 31 March 2020




                                       12-23-19




                                                                         Brabo 002060
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2168 Juliet Avenue                                   7600 Chicago Avenue
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Phone: 651-222-6509                                  Phone: 612-296-5775
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Client: Lundquist Law Firm                    Insurance Carrier: United Fire &
                                              Casualty Company
Project Address:
Brabo International                           Policy #: 85318612
11909 Auburn Road                             Claim #: 4220117295
Laredo, TX 78045
                                              Reported Date of Loss: May 21, 2017
Webb County
                                              Claim Type: Wind and Hail

                                    Project Information


      FIELD REPORT FOR INITIAL STORM DAMAGE INVESTIGATION

1.0     Background Information:

        Forensic Building Science, Inc. (FBS) was contacted by the Lundquist Law Firm to
        provide an inspection of the exterior and interior of the above-mentioned property
        and to ascertain the extent of damage caused by wind and hail activity which was
        reported to have occurred on or around May 21, 2017. FBS retained the services of
        and worked in conjunction with Brian Johnson P.E.

        Prior to inspection of the building FBS/Johnson reviewed the metallurgical testing
        and findings from Stolk Labs for this site location. Based on our inspection over
        80% of the impact markings observed during our inspection had the same visual
        characteristics as the samples submitted to Stolk Labs prior to our inspection. Based
        on our on-site observations we did not cut additional holes in the roof assembly and
        conduct further metallurgical testing.




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1.1   NOAA Storm Events Database – May 21, 2017:
      https://www.ncdc.noaa.gov/stormevents/eventdetails.jsp?id=698319

      Event Details:

             Event                Thunderstorm Wind
             Magnitude            83 kts.
             State                TEXAS
             County/Area          WEBB
             WFO                  CRP
             Report
             Source               NWS Storm Survey
             NCEI Data
             Source               CSV
             Begin Date           2017-05-21 15:28 CST-6
             Begin
             Location             1S (LRD)LAREDO INTL ARP
             Begin Lat/Lon        27.6004/-99.5173
             End Date             2017-05-21 15:44 CST-6
             End Location         2N LAREDO
             End Lat/Lon          27.5742/-99.4725
             Deaths
             Direct/Indirect      0/0 (fatality details below, when available...)
             Injuries
             Direct/Indirect      0/0
             Property
             Damage               20.00M
             Crop Damage          0.00K
                                  Scattered thunderstorms developed over
                                  northeast Mexico during the afternoon of the 21st
                                  as an upper level disturbance moved across
                                  northern Mexico. An intense thunderstorm
                                  moved across the Rio Grande into the city of
                                  Laredo. Extensive wind damage occurred in the
                                  northern parts of Laredo from 80 to 95 mph wind
                                  gusts. Five homes were destroyed while around
             Episode              50 single family and multi-family homes received
             Narrative            major damage. Minor damage occurred to around

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                                  150 single family and multi-family homes. Major
                                  damage occurred to five businesses. Hail from
                                  golf ball to baseball size inflicted damage to
                                  roofs and cars across the city. After heavy
                                  rainfall with this storm, a second storm early in
                                  the evening produced heavy rainfall that led to
                                  flash flooding in the city.
                                  Damage survey in connection with a severe
                                  thunderstorm revealed straight-line wind damage
                                  along a line around 5 miles in length and 1 mile in
                                  width across northwest Laredo. The damage was
                                  from west of the intersection of Interstate 69W
                                  and Mines Road to the intersection of east Del
                                  Mar Boulevard and McPherson Road. Damage
                                  was widespread through this area with numerous
                                  large tree limbs snapped, shingle damage to
                                  homes, dozens of utility poles bent or broken.
                                  The most significant damage occurred at the U.S.
                                  Customs facility near World Trade Bridge #3 and
                                  to homes in the Villas San Agustin
                                  neighborhood. At the U.S. Customs facility,
                                  several tractor trailers were overturned, and
                                  extensive damage occurred to the metal roof of
                                  this facility with several air conditioners blown
                                  off. Wind gusts were estimated to be between 80
                                  and 95 mph. The World Trade Bridge was closed
                                  to commercial cargo traffic for nearly a week.
                                  Within the Villas San Agustin subdivision, 4 new
                                  homes that were under construction, slid off their
                                  foundations and collapsed. Debris from these
                                  properties impacted several nearby homes
                                  causing extensive damage. Numerous homes in
                                  this subdivision lost shingles. Laredo Fire
                                  Station #9, located near Interstate 69 and Mines
                                  Road, lost its metal roof. Farther southeast, in the
                                  Dominion Del Mar, Terra Hills, and Northview
                                  subdivisions, numerous large tree limbs were
                                  broken, utility poles were bent or broken and a
             Event                cement wall under construction at the Laredo
             Narrative            Fire Department was toppled.




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1.2   NOAA Severe Weather Inventory: Filtered Hail Signatures, May 21, 2017:
      There were seven hail events near the property on this date. The image below
      shows 4.00-inch hail approximately 4-miles south/southwest of the property.




       Note: Times are listed in Universal Time (UTC), which is 5 hours ahead of
                                Central Time Zone (CDT).




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1.3   NOAA Severe Weather Inventory: Digital Mesocyclone Detection, May 21,
      2017:
      There were five digital mesocyclones detected near the property on this date. The
      nearest was approximately 1 mile east of the property.




       Note: Times are listed in Universal Time (UTC), which is 5 hours ahead of
                             Central Daylight Time (CDT).


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1.4   WEATHER EVENT SUMMARY - Laredo, TX May 21, 2017:
      http://www.interactivehailmaps.com/local-hail-map/laredo-tx/#prettyPhoto

      At 4:25 pm CDT, a severe thunderstorm was located over Laredo, moving east at
      60 mph (radar indicated). Hazards include 60 mph wind gusts and half dollar size
      hail. Hail damage to vehicles is expected. Expect wind damage to roofs, siding, and
      trees.

      At 4:28 pm CDT, a severe thunderstorm was located over doctor’s hospital of
      Laredo, or over Laredo, moving east at 30 mph (radar indicated). Hazards include
      60 mph wind gusts and half dollar size hail. Hail damage to vehicles is expected.
      expect wind damage to roofs, siding, and trees. Locations impacted include,
      Laredo, Laredo International Airport, Doctors Hospital of Laredo, Laredo
      Community College and Laredo Country Club.




                  White star indicates approximate location of the property.




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1.5   WEATHER EVENT SUMMARY - Laredo, TX May 21, 2017:
      https://www.hailpoint.com/14093/details/Laredo--TX-May-21.html




1.6   News Reports for May 21, 2017 Laredo Storm Event:
           “The most compelling photos from this summer's massive Laredo
             thunderstorm” https://www.lmtonline.com/galleries/slideshow/Laredo-
             slammed-by-severe-thunderstorm-145556/photo-12954114.php
           Video of high winds in Laredo, TX May 21, 2017
             https://www.youtube.com/watch?v=12kVrUyW9Pw
           “Severe storm closes international border bridge in Laredo, US-Mexico”
             https://watchers.news/2017/05/22/nuevo-laredo-tornado-thunderstorm/
           ” Laredo, TX Extreme Winds Flooding Damage - 5/21/2017”
             https://www.youtube.com/watch?v=T4a5SzyzdQU


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 1.7   Satellite Image of the Property:




             Google Earth imagery dated April 22, 2017 – before storm event




              Google Earth imagery dated June 28, 2017 – after storm event


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       FBS personnel visited the site to take photos and to document damaged locations.
       These photos are included/attached and are considered part of this report.

 1.8   The following claim related documents have been received:
             CC Consulting Group – First Report FINAL, dated 11.30.2018
             BSC Forensic Engineer – Metallurgical reports, dated 02.22.2019
             UFG – Estimate for the amount $2,325.22, dated 03.01.2019
             UFG – Denial Letter, dated 03.14.2019
             Brabo Intl Repair Receipts & Invoices from October 2018 and July 2019
                totaling $5,515.00
             UFG Policy with issue date 06.30.2016 to 06.30.2017
             Stolk Labs – Hail Damage Analysis Report, dated 08.08.2017
             UPC – Damage Estimate with photos, dated 05.26.2018 for the amount
                $305,394.89
             UPC – Roof Leak Report, dated 08.13.2018
             UPC – Storm Data & Analysis Report, dated 08.22.2018

 1.9   The following additional documents were used for reference:
             According to the City of Laredo website, the they have adopted the
                following building codes:
                    o https://www.cityoflaredo.com/building/
                    o 2012 International Building Code
                    o 2012 International Existing Building Code
                    o 2012 International Fire Code
                    o 2012 International Mechanical Code
                    o 2012 International Plumbing Code
                    o 2012 International Fuel Gas Code
                    o 2015 International Energy Conservation Code
                    o 2011 National Electrical Code
             Photographs from site visits by FBS
             Haag Education Haag Certified Roof Inspector Program, Commercial
                Edition
             EPA: Moisture Control Guidance for Building Design Construction and
                Maintenance - Dec 2013 - P100HF07
             ASTM E2128-12 Standard Guide for Evaluating Water Leakage for
                Buildings
             ASHRAE R-Value Climate Zone Map
             ASTM E108-10a Standard Test Methods for Fire Tests of Roof Coverings
             American Society of Civil Engineers (ASCE) Standard, Guideline for
                Condition Assessment of the Building Envelope, SEI/ASCE 30-00, 2000.
             American Society of Civil Engineers – “Guideline for the Structural
                Condition Assessment of Existing Buildings”, ANSI/ASCE 11-90, ANSI
                Approved August 1991.
             American Society of Civil Engineers – “Minimum Design Loads for
                Buildings and Other Structure”, ANSI/ASCE 7-95, Approved June 1996,
                ASCE 7-05 and related Commentaries
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               ASTM D7053 / D7053M - 17 Standard Guide for Determining and
                Evaluating Causes of Water Leakage of Low-Sloped Roofs
               SPRI, Construction-Generated Moisture and Its Effect on Roofing
                Systems, August 2008
               AISC: “Steel Construction Manual” American Institute of Steel
                Construction
               AISI: “Cold Formed Steel Design Manual” American Iron and Steel
                Institute
               RS-738-Insulation Installation Instructions
               ASHRAE R-Value Climate Zone Map
               Code referenced standards: FM 4470, UL 1256, and CAN/ULC – S126M
               Texas Board of Professional Engineers, Advisory Ruling October 7, 2004
                “Policy Advisory Opinion Regarding Structural or Mechanical
                Modifications to Building Roofs”
               ANSI/SPRI ES-1 Wind Design Standard for Edge Systems Used with
                Low Slope Roofing Systems. 1998, 2003, 2011. Code reference standard
               An Analysis of Wind Load Design – Load Side. GAF Blog, by Jim Kirby
                – November 30, 2017
               ASTM C1153 - 10(2015) Standard Practice for Location of Wet Insulation
                in Roofing Systems Using Infrared Imaging
               Metal vs. Mother Nature (hail) By: Jim Austin | March 13, 2013
               MCA Metal Roofing Installation Manual 2014.
               MCA Technical Bulletin: Static and Dynamic Analysis of Metal Roof
                Systems.
               MCA Technical Bulletin: Roof Covering Repair Requirements and the
                International Codes.
               “Sealing and Flashing Metal Roofs” Journal of Light Construction, Rob
                Haddock, January 2000.
               FEMA: Metal Roof Systems in High-Wind Regions
               Ice Ball Impact Testing of Siding, Haag Engineering: March 2012
               Specification Test Standard for Impact Resistance Testing of Rigid
                Roofing Material by Impacting with Freezer Ice Balls, FM4473. July
                2005.
               Hail: Sizing It Up! By Vickie Crenshaw and Jim D. Koontz, Western
                Roofing May/June 2002.
               Galvalume Steel Roof Hail Damage: J.E.I. Metallurgical, Inc, R. Craig
                Jerner, Ph.D., P.E.
               United States Steel Technical Bulletin # TBP 2012.17: Hail Damage On
                Coated Sheet Steel Roofing
               ASTM E1514 98 Standard Specification for Structural Standing Seam
                Steel Roof Panel Systems.
               ASTM E573-01(2013) Standard Practies for Internal Reflection
                Spectroscopy.



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 2.0   Structure Information:




            Google Earth imagery of terrain surrounding property dated April 22, 2017

 2.1   Brabo International Building is located in a Commercial Business District.
       Representatives at the property noted the building was constructed by ownership
       around 2001, and the metal roof is original. The area surrounding the property is
       composed of large commercial warehousing and parking lots. Structures of similar
       height and construction lie to the north and east. To the south are buildings and a
       large open field, to the immediate west there is open land of concrete and low
       vegetation. Per ASCE 7-10, the terrain surrounding the building is best categorized
       as Surface Roughness C, leading to a Wind Exposure Category C designation, as
       defined in the ASCE-7, historically, at the time of loss, and currently.




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         26.7.2 Surface Roughness Categories
             A ground Surface Roughness within each 45○ sector shall be determined
         for a distance upwind of the site as defined in Section 26.7.3 from the
         categories defined in the following text, for the purpose of assigning an
         exposure category as defined in Section 26.7.3.
             Surface Roughness B: Urban and suburban areas, wooded areas, or other
         terrain with numerous closely spaced obstructions having the size of single-
         family dwellings or larger.
             Surface Roughness C: Open terrain with scattered obstructions having
         heights generally less than 30 ft (9.1 m). This category includes flat open
         country and grasslands.
             Surface Roughness D: Flat, unobstructed areas and water surfaces. This
         category includes smooth mud flats, salt flats, and unbroken ice.
                                     Source: ASCE 7-10

         26.7.3 Exposure Categories
                 Exposure B: For buildings with a mean height of less than or equal to
         30 ft (9.1 m), Exposure B shall apply where the ground surface roughness, as
         defined by Surface Roughness B, prevails in the upwind direction for a
         distance greater than 1,500 ft (457 m). For buildings with a mean roof height
         greater than 30 ft (9.1 m), Exposure B shall apply where Surface Roughness B
         prevails in the upwind direction for a distance greater than 2,600 ft (792 m) or
         20 times the height of the building, whichever is greater.
                Exposure C: Exposure C shall apply for all cases where Exposure B or
         D do not apply.
                  Exposure D: Exposure D shall apply where the ground surface
         roughness, as defined by Surface Roughness D, prevails in the upwind
         direction for a distance greater than 5,000 ft (1,524 m) or 20 times the
         building height, whichever is greater. Exposure D shall also apply where the
         ground surface roughness immediately upwind of the site is B or C, and the
         site is within 600 ft (183 m) or 20 times the building height, whichever is
         greater, from an Exposure D condition, as defined in the previous sentence.
                                    Source: ASCE 7-10

 2.2   Temporary repairs have been made after the storm and prior to our assessment,
       throughout the property. Many of these repairs were made at the expense of the
       owners. Temporary repairs to the property are as follows:
             Water remediation
             Roof repairs
             Repair and replacement of interior water damage including painting

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 3.0    Roof Observations:

        The standing seam metal roof showed impact damage throughout rooftop. Hail
        impacts were observed on parapet wall, air conditioning unit, and electrical
        equipment. Several other areas were also affected by wind damage which included
        panel shift and panel separation. Hail spatter marks and indentations were measured
        on the metal roofing with some demarcations measuring up to 1.50 inches. Impact
        damage was observed in total on the metal roofing consistent with up to 2.00” hail.
        These indentations restricted water flow and collected debris within the indents.

        When the indentations caused by hail were cleaned of pollutants, close up photos
        showed striations consistent with permanent deformation (strain hardening) and
        damage to the galvalume coating and corrosion. Photos taken at non damaged areas
        did not have these same characteristics. This was consistent with testing performed
        by Stolk Labs.

        The roof assemblies on the buildings were fully assessed. Complete visual
        inspections were done, and a representative sample of various damage patterns were
        recorded. Damage on the roof was consistent with the storm event. The extent of
        damage varied as one would expect. See Brabo Intl - 11909 Auburn - Roof Photo
        Log 10-14-19 SRD for documented damages.

 3.1    Rooftop Damage:
        Damage to the roof related to hail, wind and rain includes, but may not be limited
        to, the following:
               Damage to parapet walls
               Damaged roof
               Cracks in the parapet wall
               Damage to air conditioning components
               Damaged by replacement of metal roof section
               Close up photos showed striations consistent with permanent deformation
                   (strain hardening) and damage to the galvalume coating




 Severe oil canning and panel shift           Hail impact on roof parapet

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 Metal panel displaced                    Impact damage to metal roof




 Impact damage to roof                    Impact damage to roof




 Impact damage to roof                    Impact damage to A/C condenser




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 Large spatter marks on electrical equipment        Replaced panel for testing




 Damaged replaced panel                        Damaged replaced panel




 Damaged replaced panel                        Replaced panel for testing




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                                Typical hail damage




                               Large hail impact marks

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                Typical panel wind uplift and hail damage (blue arrows)




                   Typical panel distortion and wind uplift overview


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                     Typical panel distortion and uplift due to wind




                           Panel distortion and bent fastener




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                    Panel pulled apart at joint with uplift at fasteners




                              Hail damage and panel uplift


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 3.2    Infrared Scanning of Roof:
        Infrared scanning was performed on the interior during FBS’s site inspection. See
        Brabo Intl - 11909 Auburn - Infra-Red Photo Log 10-14-19 KJS for documented
        damages. The following observations were made:
             Anomalies at water damaged locations was observed
             Anomalies on the low slope roof were present




 Underside of roof deck                       IR anomaly of previous photo




 Underside of roof deck                       IR anomaly of previous photo




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 Underside of roof deck                       IR anomaly of previous photo

 4.0    Exterior Observations:

        All accessible areas of the exterior were inspected. A representative number of
        damaged areas were photographed and documented. See Brabo Intl - 11909 Auburn
        - Exterior Photo Log 10-14-19 GD for documented damaged.

 4.1    Exterior Façade Damage:
        Damage to the exterior related to hail, wind and rain through wind-created openings
        includes, but may not be limited to, the following:
              Wall cracking
              Water damage to painted surfaces
              Cohesion failure
              Damage to windows




 Overview of front elevation                  Overview continued




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 Right elevation                          Left elevation




 Rear elevation                           Rear elevation continued




 Cohesion failure on wall                 Separation of wall




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 Cohesion failure on wall                 Cohesion failure on wall




 Cohesion failure at window frame         Cohesion failure




 Water damage to light and soffit         Crack in ceiling, see previous photo




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 5.0    Interior Observations:

        The interior of the building was inspected. A representative number of damaged
        areas were photographed and documented. See Brabo Intl - 11909 Auburn - Interior
        Photo Log 10-14-19 GD and Brabo Intl - 11909 Auburn - Interior Warehouse
        Photo Log 10-14-19 GD for documented damages.

 5.1    Interior Damage:
        Damage to the interior related to the storm includes, but may not be limited to, the
        following:
              Water damage to painted gypsum board ceilings, walls, and areas around
                 windows
              Water damage to suspended ceiling tiles
              Water damage to insulation below roof deck
              Water damage to painted surfaces




 Overview of office area                        Water damage to ceiling tiles




 Overview of warehouse area                     Water damage to insulation below roof deck



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 Water damage to ceiling                  Displaced insulation on ceiling




 Damaged ceiling insulation               Damaged insulation, exposed roof deck




 Wall is displaced                        Close-up of previous photo




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 5.2    Window Damage:
        Windows consist of painted aluminum clad, and fixed picture type, typical in these
        types of structures. The pressures exerted on a building due to wind will be
        primarily perpendicular or out-of-plane to the walls and other surfaces. This means
        that the deflection and any displacement of the building components will generally
        be perpendicular, or out-of-plane to the walls as opposed to in-plane. Water leaks
        were reported to have occurred to the interior of the buildings in some areas at
        window locations.

        We observed displacement of frame to frame butt joints at intersecting members,
        we also observed cohesion failure at the intersection of the window frame to rough
        opening intersections. In our opinion, this cohesion failure was consistent with the
        hurricane force wind damage during the storm. In other instances, there were clear
        signs of window frames that had been displaced from their original position. This
        was also consistent with damage caused by wind. In many cases, water damage was
        observed around windows throughout the interior.




 Cohesion failure to window                    Cohesion failure at window frame




 Window frame is displaced


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 Window glazing is damaged                     Window frame displacement




 Window frame is displaced                     Close-up of previous photo


 6.0   Review of Stolk Labs Report

        Prior to our inspection, the building owner had metallurgical testing done on hail
        damages samples taken from this roof assembly. In that report, Stolk reached the
        following conclusions:

        Executive Summary:

        “Physical damage sustained by metal roof panels in a hailstorm were investigated
        and the results presented in detail. Scientific evidence showed a significant loss
        of roof panel integrity in hailstone impact regions. Cross-sections through the
        impact craters revealed microcracking of the protective coating, loss of bonding
        to steel base metal, and corrosion cell development. All these laboratory-
        documented factors resulted in a direct loss of expected roof performance and
        lifespan. Because of the oxidized nature of the roof coating, re-coating is not
        possible and the affected roof panels should be replaced.”

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       Conclusions:

        Results of the roof inspections, panel sampling, laboratory testing, physical-
       chemical analyses, microscopic evaluation of the impact sites, and interpretation
       of the results led to the following:

       1) The metallurgical bond between the protective aluminum roof coating and
       steel substrate had been permanently damaged at hailstone impact sites, which
       diminished the expected lifespan of the roof.

       2) A corrosion-inhibiting barrier, passively formed as aluminum oxide, had been
       removed by the hailstone impact forces and exposed underlying coating to new
       corrosive attack.

       3) Accelerated localized corrosion pitting due to hail-induced damage along with
       additional mechanical stress increased the corrosion rate in the damaged steel
       roof panels.

        4) Hail-induced depressions had allowed accumulated moisture and corrosive
       elements thereby increasing surface and subsurface corrosion. Much pinpoint
       and crevice corrosion was observed at hail impact sites.

       5) The presence of sulfur and chlorine ions in the hail depressions or craters had
       additionally accelerated corrosive attack of damaged hot-dipped aluminum layer.

       6) Since the hailstorm event, the roof panels had randomly “lost” more than half
       of their protective coating thickness due to corrosion where hail struck.

       7) Due to differential oxygen availability in hail impact sites and loss of lateral
       corrosion barrier protection, corrosion of the roof panels with hail damage will
       continue in the future and, therefore, the panels should be replaced before
       imminent deep steel corrosion and perforation.


 7.0   Causation Statement:

       At this location, consistent with industry methodology and published ASTM
       standards, we conducted a three-part inspection in this matter. The first part of all
       inspections consists of a detailed visual on-site analysis looking at the conditions on
       the site at the time of the inspection primarily focused on the exterior envelope
       including roof assemblies and foundations on the four sides of the building. The
       goal of the visual inspection is to look for anything indicative of this building
       changing from its original construction.




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       The second part of our inspection is the document review which includes analyzing
       the maintenance and service history when available, various damage patterns
       indicative of pre or post storm events and building blueprints when available. In
       addition, we interview tenants, building owners, and others who may have been
       there before and after the event occurred. The next phase is to conduct more
       detailed inspection which include quantification of damages (e.g. number of hail
       hits within a quantifiable area of a roof assembly and accounting for wind speeds),
       separating out pre-storm damage and other types of damage, including defects in
       design, improper installation or lack of maintenance. This condition assessment is
       essential in developing a damage causation theory and scope of repairs. In some
       instances, invasive inspections are performed. Ensuing damage to the interior
       elements was also documented. This damage is also segregated between damage
       that existed before the storm and new damage that has occurred as a result of the
       storm.

 7.1   Based upon our review of the documents submitted to us for review prior and after
       our inspection and on-site inspection, and the observations collected by FBS from
       the property during our inspection, we have concluded that the roof assembly and
       some interior finishes were damaged by hail, wind and rain through wind-created
       openings on May 21, 2017. All damaged materials must be replaced.

 7.2   Based upon our training, education, experience, the information gathered during our
       inspections, the testing performed by Stolk Labs and upon a reasonable degree of
       building science and engineering certainty, it is more likely than not that the
       observed damage is a result of the subject storm event. On the reported date of loss,
       there was sufficient wind, rain and hail to cause the above-referenced damage.

 7.3   Based on our interior inspection of the buildings and the information provided to
       FBS regarding when the leaking began in relation to the date of loss, including the
       location of these leaks, we have concluded that it is more likely than not, that the
       wind and ensuing water damage we observed was a result of the above referenced
       storm event. FBS was on site when the area was experiencing light rain—as such,
       we were able to independently correlate and validate the location of several of the
       leaks (previously identified by UPC and the on-site personnel in the Roof Leak
       Report) as the same general location of leaks which occurred for the first time after
       May 2017.

 7.4   Based on the on-site data and measurement of impact marks, 1.25 to 2.00-inch hail
       from the storm event fell at this location and was of sufficient size and density to
       damage the roof metals.

 7.5   In addition, winds reported by numerous sources as high as 90 miles per hour
       caused noticeable roof panel uplift, panel separation, permanent panel distortion,
       compression and bending of fasteners, and storm created openings at seams. While
       damage from the hail was sufficient to warrant replacement of the roof assembly,
       damage from the wind was also sufficient to require full replacement. In our
       opinion, interior water damage resulted from the wind damaged panels and not from

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       the hail damage. Failure to completely remove and replace the damaged assemblies
       at the property will result in additional damage to the interior due to water intrusion.

 7.6    Damage to the galvanized panels identified by Stolk utilizing Visual Examination
       & Photo Documentation, Stereomicroscopy, FTIR Analysis, Scanning Electron
       Microscopy & Metallography, and EDX Composition Analyses concluded that
       the samples submitted were damaged by hail and damaged panels should be
       replaced due to loss of life expetency.

 7.7   FBS/Johnson also performed Visual Examination & Photo Documentation and
       identified “impact markings” from hail consistent with the “impact damage”
       identified by Stolk Labs in its testing. These impact locations covered over 80% of
       the roof panel surfaces. Based on our findings entire replacement of the roof
       assembly is required.

 8.0   Conclusions:

 8.1   Hail and wind caused damage to the roof system and exterior on May 21, 2017.
       According to our review of NOAA reports, hail between 1.00” and 4.00” in size fell
       within the vicinity of the property. Since the May 21, 2017 storm, multiple
       locations in the building are reported to leak after rain events. FBS witnessed this
       leaking during its inspection. In our opinion, full replacement of the roof system,
       metal flashings, siding, gutters and downspouts will be required.

 8.2   Damage to the metal roof panels from hail covered 80% of the overall roof area.
       The indentations were consistent with damaged samples from the same roof
       submitted to and tested by Stolk Labs. Stolk concluded these impact locations were
       damaged:

       1) The metallurgical bond between the protective aluminum roof coating and
       steel substrate had been permanently damaged at hailstone impact sites, which
       diminished the expected lifespan of the roof.

       2) A corrosion-inhibiting barrier, passively formed as aluminum oxide, had been
       removed by the hailstone impact forces and exposed underlying coating to new
       corrosive attack.

       3) Accelerated localized corrosion pitting due to hail-induced damage along with
       additional mechanical stress increased the corrosion rate in the damaged steel
       roof panels.

        4) Hail-induced depressions had allowed accumulated moisture and corrosive
       elements thereby increasing surface and subsurface corrosion. Much pinpoint
       and crevice corrosion was observed at hail impact sites.

       5) The presence of sulfur and chlorine ions in the hail depressions or craters had
       additionally accelerated corrosive attack of damaged hot-dipped aluminum layer.

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       6) Since the hailstorm event, the roof panels had randomly “lost” more than half
       of their protective coating thickness due to corrosion where hail struck.

       7) Due to differential oxygen availability in hail impact sites and loss of lateral
       corrosion barrier protection, corrosion of the roof panels with hail damage will
       continue in the future and, therefore, the panels should be replaced before
       imminent deep steel corrosion and perforation.

8.1    Damage to these metal roof panels from hail created a variety of indentations that
       continue to collect debris, sediment and water. According to the MCA Roofing
       Installation Manual Circa 2014, among other sources cited above, even small
       amounts of trapped water can cause premature corrosion to occur at the impact
       locations:

        (“Corrosion is the process in which a solid, especially a metal, degrades and
       changes by a chemical action. For example, oxidation of iron in the presence of
       water by an electrolytic process is a form of corrosion. It forms iron oxide or rust.
       Oxidation requires both moisture and air in order to occur…Oxidation can occur
       very rapidly when excess water remains on a metal surface.”). e.g. For example,
       when indentations made by hail slows water run off at the indentation location
       allowing for pollutants to collect.

       Indentations are less ductile (and more prone to puncture from future hail and
       normal weathering effects) than the metal prior to hail impact as the areas are
       permanently deformed by stressing the metal into the strain-hardening region.
       These indentations are not expected to diminish with time.

 8.2   Damage caused by wind included metal crimping, uplift, permanent panel
       distortion, seam separation, and storm created openings in the roof assembly.
       Damage from wind requires full replacement of the roof panels. Based on similar
       projects, the age and condition of the panels, surgical repairs to individual panels
       will likely damage surrounding panels and any underdeck insulation. Any damage
       to structural elements (roof deck, clips, fasteners, purlins) will require sealed details
       from a licensed civil or structural engineer before reuse.

 9.0   Code Discussion:

 9.1   2015 IECC (International Energy Conservation Code) Definitions
       ROOF ASSEMBLY: “A system designed to provide weather protection and
       resistance to design loads. The system consists of a roof covering and roof deck or
       a single component serving as both the roof covering and the roof deck. A roof
       assembly includes the roof covering, underlayment, roof deck, insulation, vapor
       retarder and interior finish.”

       The key component here is that the energy code includes the “interior finish”.
       Because the roof membrane in this case creates the vapor and air barrier above the

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       conditioned space all water damaged elements in the assembly must be replaced.
       Including roof deck insulation.

       Interior Finish is defined as:
       INTERIOR FINISH: “Interior finish includes interior wall and ceiling finish and
       interior floor finish.”

       Interior wall and Ceiling Finish is defined as:
       INTERIOR WALL AND CEILING FINISH: “The exposed interior surfaces of
       buildings, including but not limited to: fixed or movable walls and partitions; toilet
       room privacy partitions; columns; ceilings; and interior wainscoting, paneling or
       other finish applied structurally or for decoration, acoustical correction, surface
       insulation, structural fire resistance or similar purposes, but not including trim.”

       If water damage has occurred to the interior finish, for example the ceiling tiles
       (which are for decoration, acoustical corrections and provide fire resistance) which
       require replacement, then the remaining parts of the roof assembly up to the roof
       covering (working inside out) must also be examined and likely replaced. Coring
       will typically reveal either presence of water or signs that water did enter. Most of,
       if not all of the products used in the “roof assembly” are not intended by the
       manufacturer to get wet and water damage can be identified. In this case, the water
       damage has occurred requiring replacement of the roof assembly insulation and the
       roof covering in order to access this insulation.

 9.2   The 2012 IBC (International Building Code):
       The following provision in the code regarding roof recovering is applicable to this
       property:




 9.3   The 2012 IEBC (International Existing Building Code):
       The following provision in the code regarding roof recovering is applicable to this
       property:

       [BS] 705.3 Roof replacement

       Roof replacement shall include the removal of all existing layers
       of roof coverings down to the roof deck.

       Exception: Where the existing roof assembly includes an ice
       barrier membrane that is adhered to the roof deck, the existing
       ice barrier membrane shall be permitted to remain in place and
       covered with an additional layer of ice barrier membrane in
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        accordance with Section 1507 of the International Building Code.

        [BS] 705.3.1 Roof recover
        The installation of a new roof covering over an existing roof
        covering shall be permitted where any of the following conditions
        occur:

    1. The new roof covering is installed in accordance with the roof
       covering manufacturer’s approved instructions.
    2. Complete and separate roofing systems, such as standing-seam
       metal roof panel systems, that are designed to transmit the roof
       loads directly to the building’s structural system and that do not
       rely on existing roofs and roof coverings for support, are installed.
    3. Metal panel, metal shingle and concrete and clay tile roof
       coverings are installed over existing wood shake roofs in
       accordance with Section 705.4.
    4. A new protective roof coating is applied over an existing
       protective roof coating, a metal roof panel, metal roof shingles,
       mineral-surfaced roll roofing, a built-up roof, modified bitumen
       roofing, thermoset and thermoplastic single-ply roofing or a spray
       polyurethane foam roofing system.

        [BS] 705.3.1.1 Exceptions

        A roof recover shall not be permitted where any of the following
        conditions occur:

    1. The existing roof or roof covering is water soaked or has
       deteriorated to the point that the existing roof or roof covering is
       not adequate as a base for additional roofing.
    2. The existing roof covering is slate, clay, cement or asbestos-
       cement tile.
    3. The existing roof has two or more applications of any type of roof
       covering.


 10.0   Requirements / Recommendations:

        Based on the findings during the investigation, we recommend the following steps
        be taken:

   1.   Follow all applicable building codes.
   2.   Remove all existing roofing materials down to the roof purlins.
   3.   Remove all insulation which will be damaged during reroofing.
   4.   Replace all roofing materials, cap flashings and appurtenances with new. Include
        adding additional insulation to meet current Energy Codes.

        NOTE: THIS WILL REQUIRE INSTALLATION OF STANCHIONS ONTO
         PURLINS TO ALLOW FOR 3” FOAM INSULATION TO MEET ENERGY


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        CODES. THIS WILL REQUIRE ADDITIONAL ENGINEERING DESIGN
        FEES TO RETROFIT THE STRUCTURE FOR WIND LOAD.
   5.   Alternate construction techniques may be acceptable provided a licensed design
        professional approves and signs and stamps plans and or shop drawings for these
        repairs. Means and methods are the contractor’s responsibility.
   6.   Conform to any special inspection and testing schedules issued by the engineer.
   7.   Contractor is solely responsible for adherence to all applicable safety requirements
        for work at heights.
   8.   Contractor shall remain on alert for signs of mold during repairs and construction.
   9.   Energy code requirements have not been reviewed. Scope of work for this project
        is structural only. Integration of existing building systems with vapor retarders,
        application of sealants, flashing and other items are the responsibility of the
        contractor.
   10. Stability during construction is the responsibility of the Contractor. Structure as
        detailed is intended to be stable once all sheathing and fasteners are in place.
   11. Remove water damaged interior materials and effect repairs pursuant to current
       published guidelines by ANSI/IICRC S500 – “Water Damage Restoration.” This
       will include interior environmental controls.

 11.0   Authors Statement:

        This report is jointly authored by Brian Craig Johnson, P.E, and Jeremy Lansdown
        and Tom Irmiter, of Forensic Building Science, Inc. All three have reviewed each
        other’s contributions to this report and concur with the overall content of the report.

 11.1   Jeremy Lansdown contributed to the background information and oversaw site
        investigations. In addition, he assisted in compiling the estimate.

 11.2   Brian Craig Johnson contributed to the Causation and Engineering analysis and
        failure mechanisms to the structure as a direct result the storm and evaluated
        repairability issues.

 11.3   Tom Irmiter drafted the report and contributed to the weather data, the documents
        section, the Causation analysis, code review and damage model with estimated
        costs to restore the building to a preloss condition.




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 Discovery is ongoing. Additional testing and inspections may need to be performed and
 additional and/or supplemental information and opinions may be contained in future reports
 issued by Forensic Building Science, Inc. This report is the exclusive property of the client
 noted previously and cannot be relied upon by a third party. Copies of this report are
 released to third parties only by written permission of the client.


 Please contact our office should you have any questions or need additional information.

 Respectfully submitted,



                             ________________________12-23-19________
  Jeremy Lansdown                                                 Date
  Project Manager, Forensic Building Science, Inc.



                                                             12-23-19
 Tom Irmiter, President, Forensic Building Science, Inc.                    Date
 Building Causation, Code and Damages Consultant




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1




              Insured:    Brabo International - 11909 Auburn Rd.
             Property:    11909 Auburn Rd.
                          Laredo, TX 78045


            Estimator:    Tom Irmiter


      Claim Number:                               Policy Number:                                Type of Loss: Wind/Hail

        Date of Loss:     5/21/2017 12:00 AM                     Date Received:
       Date Inspected:    10/16/2019 12:00 AM                     Date Entered:    11/12/2019 9:24 AM

            Price List:   TXCC8X_NOV19
                          Restoration/Service/Remodel
             Estimate:    BRABOINTERNATIONAL

    OPENING STATEMENT:

        OPCC (OPINION OF PROBABLE CONSTRUCTION COST)
    1). This Estimate is predicated on the quantity survey which precedes herewith. The survey is subject to mechanical and human
    error. This estimate is now, therefore subject to revision contingent on the discovery of mechanical and / or human error.




                                                                                                             Brabo 002096
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                                                                                         BRABOINTERNATIONAL
                                                                                                    Exterior

                                   142' 11"
                                   141' 7"                              Exterior                                                                                   Height: 16'
                                                                                    7469.04   SF Walls                                12804.36 SF Ceiling
                                                               89' 6"
                                                               88' 2"




                                                                                   20273.39   SF Walls & Ceiling                      12804.36 SF Floor
                            Exterior
                                                                                    1422.71   SY Flooring                               466.81 LF Floor Perimeter
                                                                                     466.81   LF Ceil. Perimeter
                                                 ""
                                            '' 44




               9"
           48' 11"                                    51' 6"
                                                          8"
                                        1100




                                   27' 3"
                     1100
                         '' 55
                              ""




     DESCRIPTION                                                               QUANTITY UNIT PRICE                TAX        O&P            RCV     DEPREC.              ACV
     1. Clean with pressure/chemical spray        7,469.04 SF             0.32                                  191.65       479.00      3,060.74       (0.00)       3,060.74
     2. Stucco patch / small repair - ready for      128.00 EA         166.44                                   139.94     4,288.84     25,733.10       (0.00)      25,733.10
     color
     Allowance to repair damaged stucco
     3. Seal & paint stucco                       7,469.04 SF             1.16                                  121.37     1,757.10     10,542.56       (0.00)      10,542.56
     Allowance to paint stucco repair areas and tilt wall
     ------------------------------DOORS & WINDOWS------------------------------
     4. R&R Storefront door - alum. anodized           1.00 EA       1,947.19                                   114.20      412.28       2,473.67       (0.00)        2,473.67
     frame, 3'x7' -Double pane
     5. R&R Storefront - aluminum anodized           588.00 SF           26.58                                  703.25     3,266.48     19,598.77       (0.00)      19,598.77
     frame - Double pane

     Totals: Exterior                                                                                          1,270.41   10,203.70     61,408.84           0.00    61,408.84

     Total: Exterior                                                                                           1,270.41   10,203.70     61,408.84           0.00    61,408.84



                                                                                                    Interior
     Interior

     DESCRIPTION                                                               QUANTITY UNIT PRICE                TAX        O&P            RCV     DEPREC.              ACV
     -----------------------------INSULATION------------------------------
     6. R&R Vinyl-faced/laminated insulation -       12,633. SF                                     0.96        410.58     2,507.72     15,046.29       (0.00)      15,046.29
     3"                                                    32

     Total: Interior                                                                                            410.58     2,507.72     15,046.29           0.00    15,046.29




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3




                            Up
                           Stairs 1
                            4' 7" 2' 7"
                               7' 4"                                       Warehouse Office 1                                                                                                                              Height: 8'
                                          4' 4"
                                          4' 8"




                                          11"                                                          404.48       SF Walls                                                          148.01 SF Ceiling
                        18' 10"




                                                                                                       552.49       SF Walls & Ceiling                                                148.01 SF Floor
                         18' 6"




                       Warehouse Office 1
                                           13' 10"
                                            14' 6"




                                                                                                        16.45       SY Flooring                                                        53.46 LF Floor Perimeter
                                                                                                        53.46       LF Ceil. Perimeter
                                  8' 3"
                                  8' 7"



     DESCRIPTION
           Warehouse Office 2                                                            QUANTITY UNIT PRICE                                        TAX     WarehouseO&P                  RCV           DEPREC.                     ACV
     ----------- CEILINGS-----------
     7. R&R Suspended ceiling system - 2' x 4'
                          Up                        148.01 SF                                                                4.03                   14.82           122.26              733.56               (0.00)               733.56
     ----------- ELECTRICAL
                  Stairs 1     -----------
     8. R&R Fluorescent - acoustic grid fixture -       2.00 EA                                                         221.48                       9.16            90.42              542.54               (0.00)               542.54
     four tube, 2'x 4'
     -------- HVAC - ACCESSORIES -------
     9. R&R Ceiling diffuser - square, lay-in - Bathroom1.00
                                                         3
                                                             EA                                                         110.07                     4.351
                                                                                                                                               Bathroom              22.90              137.32               (0.00)               137.32
     24"                                                                                                                                                Ktichen 2
                                                                                                                                                                          Office 2
                   Warehouse Office 1                            Conference Room                         Office 4              Office 3
                                                                                                                                               Bathroom 2
     Totals: WarehouseSupply
                        Office
                             Room
                                  1                                                      Bathroom 4
                                                                                                                                                    28.33           235.58             1,413.42                0.00            1,413.42


                                                                Bathroom 5Kitchen 1
                                                                                                                                                                                             Office 1                 President's Office

                                  8' 7"                                    Warehouse Office 2                                                                                                                              Height: 8'
                                  8' 3"
                                                                                                                               Main Office
                                            Server Room
                                                                                                       316.70       SF Walls                                                           95.27 SF Ceiling
                                                                       Office 5
                                                                                                       411.97       SF Walls & Ceiling                                                 95.27 SF Floor Warehouse
             11' 10"




                                              11' 6"
                                                       12' 2"




                       Warehouse Office 2
                                                                                                        10.59       SY Flooring                                                        39.59 LF Floor Perimeter




                                                                                                                                                                                                                                                      Up
                                                                                                                                                                                                                                                 Stairs 3
                                                                                                        39.59       LF Ceil. Perimeter
                                                                                                                           Reception                    Office 6
                                                                                                                                       Kitchen 3



     DESCRIPTION                                                                         QUANTITY UNIT PRICE                                        TAX              O&P                  RCV           DEPREC.                     ACV
     ----------- CEILINGS-----------
     10. R&R Suspended ceiling system - 2' x          95.27 SF                                                               4.03                    9.54            78.70              472.18               (0.00)               472.18
     4'
     ----------- ELECTRICAL -----------
     11. R&R Fluorescent - acoustic grid               2.00 EA                                                          221.48                       9.16            90.42              542.54               (0.00)               542.54
     fixture - four tube, 2'x 4'                                                                              Bathroom 3
                                                                                                                                                                                           Bathroom 1

     -------- HVAC - ACCESSORIES -------                                                                                                                                                                Ktichen 2
                                                                                                                                                                                                                                      Office 2
     12. R&R Ceiling diffuser - square, lay-in  - Room 1.00 EA
                                          Conference                                                                    110.07           Office 4    4.35            22.90
                                                                                                                                                                       Office 3         137.32               (0.00)               137.32
                                                                                                                                                                                           Bathroom 2
     24"
                                                       Supply Room                                            Bathroom 4
     Totals: Warehouse Office 2                                                                                                                     23.05           192.02             1,152.04                0.00            1,152.04



                                                                          Bathroom 5       Kitchen 1




                                                                                                                                                                        Main Office
    BRABOINTERNATIONAL                                                                                                                                                                        12/23/2019                             Page: 3
                                                                                                                                                                                             Brabo 002098
                                                       Server Room
                                                                                       Office 5
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       4


                                                                  Main Office




                                              10' 5"                                     Reception                                                                                            Height: 9'
                                              9' 10"
                                                  Reception                                                   267.64
                                                                                                                Office 6   SF Walls                                 44.75 SF Ceiling
                                                                                                              312.40       SF Walls & Ceiling                       44.75 SF Floor
                                                                         7' 1"
                                           10




                                                                                 Kitchen 3
                                       10

                                             '
                                         '6




                                                                                                                4.97       SY Flooring                              29.74 LF Floor Perimeter
                                          "




                                                               2' 9"
                                                                                                               29.74       LF Ceil. Perimeter
                                                               3' 1"




                      DESCRIPTION                                                              QUANTITY UNIT PRICE                          TAX          O&P           RCV     DEPREC.             ACV
                      ----------- CEILINGS-----------
                      13. R&R Suspended ceiling system - 2' x                                        44.75 SF                    4.03           4.48     36.96       221.79        (0.00)        221.79
                      4'
                      ----------- ELECTRICAL -----------
                      14. R&R Fluorescent - acoustic grid                                              2.00 EA                 221.48           9.16     90.42       542.54        (0.00)        542.54
                      fixture - four tube, 2'x 4'
     Up
                      -------- HVAC - ACCESSORIES -------                                              Up
    Stairs 1          15. R&R Ceiling diffuser - square, lay-in -                                     Stairs
                                                                                                       1.002    EA             110.07           4.35     22.90       137.32        (0.00)        137.32
                      24"
Warehouse Office 1

                      Totals: Reception                                                                                                     17.99       150.28       901.65            0.00      901.65
Warehouse Office 2                                         Warehouse




                        3' 9"                                    3' 5"
                                                 Bathroom 1                              Main Office                                                                                          Height: 9'
                                                                 11' 1"

                                                                12' 11"




                       Bathroom 3
                                                                13' 3"
                        15' 4"
                        15' 6"




           Conference Room Office 4 OfficeBathroom 3 5'Ktichen
                                                       1" 2
                                                                2Office 2
                      7' 8"




       Supply Room Bathroom 4
                                 14' 2"     14' 3" 11' 9"
                                                                 10' 7"
                                                                                                         2375.25           SF Walls                               1642.55 SF Ceiling
                                    34' 7"
                       7' 3"
                       7' 1"




            Bathroom  5 1
                 Kitchen                                                  Office 1 President's Office
                                                                                                         4017.81           SF Walls & Ceiling                     1642.55 SF Floor
                      2' 2"
                                                                                   27'




                                         Main Office
                                                                                                          182.51           SY Flooring                             263.92 LF Floor Perimeter
                         17' 5"
                         17' 1"




       Server Room
                Office 5                                 19' 1"
                                                                                                       Up
                                                       4' 4"




                             18' 5"     10' 5" 6' 10" 18' 5"                                              263.92
                                                                                                   Stairs 3                LF Ceil. Perimeter
                                                                       7' 10'
                                                                             10'




                             18' 6" Reception
                                        9' 10"  6' 8" 3Office 6
                                             Kitchen
                                                                            "
                                                                         11




                      DESCRIPTION                                                              QUANTITY UNIT PRICE                          TAX          O&P           RCV     DEPREC.             ACV
                      ----------- CEILINGS-----------
                      16. R&R Suspended ceiling system - 2' x                                   1,642.55 SF                      4.03      164.42      1,356.78     8,140.68       (0.00)       8,140.68
                      4'
                      ----------- ELECTRICAL -----------
                      17. R&R Fluorescent - acoustic grid                                            22.00 EA                  221.48      100.79       994.66      5,968.01       (0.00)       5,968.01
                      fixture - four tube, 2'x 4'
                      -------- HVAC - ACCESSORIES -------
                      18. R&R Ceiling diffuser - square, lay-in -                                    13.00 EA                  110.07       56.57       297.52      1,785.00       (0.00)       1,785.00
                      24"

                      Totals: Main Office                                                                                                  321.78      2,648.96    15,893.69           0.00    15,893.69




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        5
                                                                                  Up
                                                                                  Stairs 2




      Warehouse




                                                     23' 5"
throom 1                                            22' 11"                                      President's Office                                                                        Height: 9'
    Ktichen 2 Office 2
throom 2
                                                                                                               1109.33   SF Walls                               922.81 SF Ceiling
                                                                         35' 8"
                                                               35' 6"




                                                                                                               2032.14   SF Walls & Ceiling                     922.81 SF Floor
                                     40' 3"




                          Office 1     President's Office

e                                                                                                               102.53   SY Flooring                            126.36 LF Floor Perimeter
                                                                                                                126.36   LF Ceil. Perimeter
                                                                  Up
                                                               4' 9"
                                                               4' 7"




                                                                   Stairs 3
     Office 6                                       23' 3"
n3


                      DESCRIPTION                                                                       QUANTITY UNIT PRICE               TAX          O&P          RCV     DEPREC.            ACV
                      ----------- CEILINGS-----------
                      19. R&R Suspended ceiling system - 2' x                                               922.81 SF          4.03       92.37       762.26     4,573.55       (0.00)      4,573.55
                      4'
                      ----------- ELECTRICAL -----------
                      20. R&R Fluorescent - acoustic grid                                         Up          8.00 EA        221.48       36.65       361.72     2,170.21       (0.00)      2,170.21
                      fixture - four tube, 2'x 4'        Stairs 2

                      -------- HVAC - ACCESSORIES -------
                      21. R&R Ceiling diffuser - square, lay-in -                                             3.00 EA        110.07       13.06        68.68      411.95        (0.00)        411.95
                      24"

                      Totals:
                      Warehouse
                                President's Office                                                                                       142.08      1,192.66    7,155.71           0.00    7,155.71



                                                     15' 3"
                Bathroom 1                          14' 11"                                      Office 1                                                                                  Height: 9'
                                        12' 11"
                                        13' 3"




                      Ktichen 2 Office 2
e4      Office 3Bathroom 2

                                       1' 4"
                                                                                                               1017.17   SF Walls                               636.29 SF Ceiling
                                                                                                               1653.46   SF Walls & Ceiling                     636.29 SF Floor
                                                                40' 3"




                                                    Office 1      President's Office

                                                                                                                 70.70   SY Flooring                            113.02 LF Floor Perimeter
                                              27'




       Main Office
                                                                                                                113.02   LF Ceil. Perimeter
                                                                                                 Up




                                                    16' 3"                                   Stairs 3
     Reception      Office 6                        16' 7"
          Kitchen 3


                      DESCRIPTION                                                                       QUANTITY UNIT PRICE               TAX          O&P          RCV     DEPREC.            ACV
                      ----------- CEILINGS-----------
                      22. R&R Suspended ceiling system - 2' x                                               636.29 SF          4.03       63.69       525.60     3,153.54       (0.00)      3,153.54
                      4'
                      ----------- ELECTRICAL -----------
                      23. R&R Fluorescent - acoustic grid                                                     4.00 EA        221.48       18.32       180.84     1,085.08       (0.00)      1,085.08
                      fixture - four tube, 2'x 4'
                      -------- HVAC - ACCESSORIES -------
                      24. R&R Ceiling diffuser - square, lay-in -                                             2.00 EA        110.07           8.70     45.76      274.60        (0.00)        274.60
                      24"

                      Totals: Office 1                                                                                                    90.71       752.20     4,513.22           0.00    4,513.22




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                     Warehouse




                                            11' 11"
                                             11' 7"
                                                                                  Office 2                                                                                                     Height: 9'
 Bathroom 1
                                                                                                   441.56   SF Walls                                         150.00 SF Ceiling
                                                       12' 11"




              Ktichen 2
                                                                                                   591.56   SF Walls & Ceiling                               150.00 SF Floor
                                                       13' 3"




                                           Office 2                                                                                                                        Up
 Bathroom 2                                                                                         16.67   SY Flooring                                       49.06 LF
                                                                                                                                                                     StairsFloor
                                                                                                                                                                            2    Perimeter
                                           10' 5"     1' 2"
                                                                                                    49.06   LF Ceil. Perimeter
                                           10' 7"     1' 4"



                         DESCRIPTION                                          Office 1
                                                                                          QUANTITYPresident's
                                                                                                      UNIT       PRICE
                                                                                                              Office
                                                                                                                               TAX                   O&P          RCV           DEPREC.            ACV
                     ----------- CEILINGS-----------
                     25. R&R Suspended ceiling system - 2' x                                 150.00 SF             4.03        15.02               123.90       743.42             (0.00)         743.42
                     4'
                     ----------- ELECTRICAL -----------
                     26. R&R Fluorescent - acoustic grid                                       4.00 EA          221.48         18.32               180.84     1,085.08             (0.00)       1,085.08
                     fixture - four tube, 2'x 4'
                                                          Warehouse
                     -------- HVAC - ACCESSORIES -------
                                                                                                                                  Up
                                                                                                                            Stairs 3
                     27. R&R Ceiling diffuser - square, lay-in -                               2.00 EA          110.07           8.70                45.76      274.60             (0.00)         274.60
                     24"
              Office 6

                         Totals: Office 2                                                                                      42.04               350.50     2,103.10                  0.00    2,103.10




                                            14' 7"
                                            14' 3"
                                                                                  Office 3                                                                                                     Height: 9'
                                                                  5' 2"
                                                        5' 4"




                                                                 Bathroom 1
om 3
                                                                                                   524.17   SF Walls                                         211.91 SF Ceiling
                                                                              Ktichen 2
                                 14' 10"




                                                                                               Office 2
              Office 4                     Office 3                                                736.08   SF Walls & Ceiling                               211.91 SF Floor
                                                        5' 11"
                                                                  5' 7"




                                                                 Bathroom 2

om 4
                                                                                                    23.55   SY Flooring                                       58.24 LF Floor Perimeter
                                                                                                    58.24   LF Ceil. Perimeter
                                                         3' 7"
                                                         3' 7"




                                            14' 5"


                                                                                                                Office 1                President's Office
                         DESCRIPTION                                                      QUANTITY UNIT PRICE                  TAX                   O&P          RCV           DEPREC.            ACV
                         ----------- CEILINGS-----------
                                          Main Office
                         28. R&R Suspended            ceiling system - 2' x                  211.91 SF             4.03        21.21               175.04     1,050.24             (0.00)       1,050.24
                         4'
                         ----------- ELECTRICAL -----------
                         29. R&R Fluorescent - acoustic grid                                   6.00 EA          221.48         27.49               271.28     1,627.65             (0.00)       1,627.65
                                                                                                                                                                     Up




                         fixture - four tube, 2'x 4'                                                                                                            Stairs 3

                         -------- HVAC - ACCESSORIES -------
                                    Reception                      Office 6
                         30. R&R Ceiling Kitchendiffuser3   - square, lay-in -                 3.00 EA          110.07         13.06                 68.68      411.95             (0.00)         411.95
                         24"

                         Totals: Office 3                                                                                      61.76               515.00     3,089.84                  0.00    3,089.84




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                                                                                                                             Warehouse




           Up                                                                                                                                                                                                                                                             Up
           Stairs 1                                                                                                                                                                                                                                                       Stairs 2



                                                       14' 6"
                                                       14' 2"
                                                                                          Office 4                                                                                                                                                    Height: 9'
                             6' 10"




                                                                                                            Bathroom 1
                    Bathroom 3
                                                                                                                       522.59         SF Walls                                                       210.60 SF Ceiling
                                       7'




     Warehouse Office 1
                                                                                                                       Ktichen 2
                                                                                                                       733.20         SF Walls  & 2Ceiling                                           210.60 SF Floor
                                                                            14' 10"




                                                                                                                                             Office
nce Room                                              Office 4                        Office 3
                                                                                                            Bathroom 2
                                                                                                                        23.40         SY Flooring                                                     58.07 LF Floor Perimeter
                              7' 10"
                              7' 8"




                      Bathroom 4
                                                                                                                        58.07         LF Ceil. Perimeter


5   Kitchen 1
     Warehouse Office 2                                                                                                                                       Warehouse      Office 1                       President's Office
                       DESCRIPTION                                                                          QUANTITY UNIT PRICE                                      TAX                 O&P                  RCV                DEPREC.                      ACV
                       ----------- CEILINGS-----------
                       31. R&R Suspended ceiling system     Main -Office
                                                                    2' x                                       210.60 SF                         4.03                21.08              173.96         1,043.76                       (0.00)               1,043.76
                       4'
Office 5               ----------- ELECTRICAL -----------
                       32. R&R Fluorescent - acoustic grid                                                         6.00 EA                    221.48                 27.49              271.28         1,627.65                       (0.00)               1,627.65
                       fixture - four tube, 2'x 4'




                                                                                                                                                                                                                                                      Up
                                                                                                                                                                                                                                                Stairs 3
                       -------- HVAC - ACCESSORIES -------
                                                                                                                                             Bathroom 1
                       33. R&R Ceiling diffuser Bathroom
                                                   - square,3 lay-in -
                                                      Reception                                                    2.00Office
                                                                                                                         EA6                  110.07                  8.70               45.76              274.60                    (0.00)                274.60
                       24"                                         Kitchen 3                                                                          Ktichen 2
                                                                                                                                                                             Office 2
                                             Conference Room                                     Office 4                  Office 3
                                                                                                                                             Bathroom 2
                       Totals:
                      Supply Room Office 4                                  Bathroom 4                                                                               57.27              491.00         2,946.01                          0.00              2,946.01


                                           Bathroom 5 Kitchen 1
                                                                                                                                                                                                 Office 1                        President's Office
                                              6' 5"         5' 9"   2' 4"
                                                      14' 10"                             Office 5                                                                                                                                                    Height: 9'
                                                                                                                           Main Office
                                                                                                                         574.75    SF Walls                                                          253.65 SF Ceiling
                      Server Room
                                                                     17' 5"
                                  17' 3"




                                                                                                                         828.41 SF Walls & Ceiling                                                   253.65 SF Floor
                                                                     17' 1"




                                                      Office 5

                                                                                                                          28.18 SY Flooring                                                           63.86 LF Floor Perimeter




                                                                                                                                                                                                                                                                    Up
                                                                                                                          63.86 LF Ceil. Perimeter                                                                                                             Stairs 3

                                                       15' 2"                                                                                             Office 6
                                                                                                                     Reception
                                                                                                                                 Kitchen 3

                       DESCRIPTION                                                                          QUANTITY UNIT PRICE                                      TAX                 O&P                  RCV                DEPREC.                      ACV
                       ----------- CEILINGS-----------
                       34. R&R Suspended ceiling system - 2' x                                                 253.65 SF                         4.03                25.39              209.52         1,257.12                       (0.00)               1,257.12
                       4'
                       ----------- ELECTRICAL -----------
                       35. R&R Fluorescent - acoustic grid                                                         7.00 EA                    221.48                 32.07              316.50         1,898.93                       (0.00)               1,898.93
                       fixture - four tube, 2'x 4'
                       -------- HVAC - ACCESSORIES -------
                       36. R&R Ceiling diffuser - square, lay-in -                                                 3.00 EA                    110.07                 13.06               68.68              411.95                    (0.00)                411.95
                       24"

                       Totals: Office 5                                                                                                                              70.52              594.70         3,568.00                          0.00              3,568.00




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                              Bathroom 1
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                                                    Ktichen 2
   8Office 3                                                                                     Office 2
                              Bathroom 2




                                                                                                                       Office 1                          President's Office




      Main Office




                                                           19' 1"                                           Office 6                                                                                                                                   Height: 9'
                                                           18' 5"




                                                                                                                                                                                                    Up
                      4' 6"
                               4' 4"




                                                                                                                                                                                               Stairs 3
                                                                                                                                  532.11     SF Walls                                                                212.48 SF Ceiling
                                                                                                10'
                                                                                               10'




Reception                                            Office 6                                                                     744.59     SF Walls & Ceiling                                                      212.48 SF Floor
                       7' 3"
                       7' 1"




    Up        Kitchen 3                                                                                                            23.61     SY Flooring                                                              59.12 LF Floor Perimeter
   Stairs 1
                                                                                         3"




                                                      16' 10"                                                                      59.12     LF Ceil. Perimeter
                                                                                      2'
                                                                                               5"
                                                                                           2'




                                                      17' 2"




                    DESCRIPTION                                                                                     QUANTITY UNIT PRICE                                           TAX                       O&P          RCV        DEPREC.                     ACV
Warehouse Office 1
                 ----------- CEILINGS-----------
                 37. R&R Suspended ceiling system - 2' x                                                                    212.48 SF                     4.03                    21.27                   175.52      1,053.08         (0.00)             1,053.08
                 4'
                 ----------- ELECTRICAL -----------
                 38. R&R Fluorescent - acoustic grid                                                                          6.00 EA               221.48                        27.49                   271.28      1,627.65         (0.00)             1,627.65
                 fixture - four tube, 2'x 4'
 Warehouse Office--------
                 2        HVAC - ACCESSORIES -------                                                                                                                               Warehouse

                 39. R&R Ceiling diffuser - square, lay-in -                                                                  4.00 EA               110.07                        17.41                     91.54      549.23          (0.00)                549.23
                 24"

                    Totals: Office 6                                                                                                                                              66.17                   538.34      3,229.96             0.00           3,229.96




                                                            13'
                                                                                                            Conference Room                                                                                                                            Height: 9'
                                        3' 1"




                                                           12' 6"
                                                                                                                                                             Bathroom 1
                                                                                                 Bathroom 3
                                                                                                                                  501.42 SF Walls                                                                    192.00 SF Ceiling
                                                                                                                                                               Ktichen 2
                                                                                                                                                                                                          Office 2
                                                                                                                                  693.42 Office
                                                                                                                                          SF 3Walls Bathroom
                                                                                                                                                     & Ceiling                                                       192.00 SF Floor
                                                                             15' 4"
                                                                                      15' 6"




                                                  Conference Room                                                Office 4
                                                                                                                                                             2
                                       12' 5"




                  Supply Room                                                                    Bathroom 4
                                                                                                                                   21.33 SY Flooring                                                                  55.71 LF Floor Perimeter
                                                   6' 7"            5' 11"
                                                                                                                                   55.71 LF Ceil. Perimeter
                                                   6' 5"            5' 9"

                                                Bathroom 5 Kitchen 1
                                                                                                                                                                                                                         Office 1                 President's Office
                    DESCRIPTION                                                                                     QUANTITY UNIT PRICE                                           TAX                       O&P          RCV        DEPREC.                     ACV
                  ----------- CEILINGS-----------
                                                                                                                                           Main Office
                  40. R&R Suspended ceiling system - 2' x                                                                   192.00 SF                     4.03                    19.22                   158.60       951.58          (0.00)                951.58
                  Server Room
                  4'               Office 5
                  ----------- ELECTRICAL -----------
                  41. R&R Fluorescent - acoustic grid                                                                        12.00 EA               221.48                        54.97                   542.54      3,255.27         (0.00)             3,255.27
                                                                                                                                                                                                                                                                          Stai
                  fixture - four tube, 2'x 4'
                  -------- HVAC - ACCESSORIES -------                                                                                 Reception                               Office 6

                  42. R&R Ceiling diffuser - square, lay-in -                                                                 5.00 EA             Kitchen 3
                                                                                                                                                      110.07                      21.76                   114.44       686.55          (0.00)                686.55
                  24"

                    Totals: Conference Room                                                                                                                                       95.95                   815.58      4,893.40             0.00           4,893.40




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                                                                               Bathroom 3                                     Bathroom 1
                                                                                                                                          Ktichen 2          Office 2
                                                       Conference Room                       Office 4          Office 3
                                                                                                                              Bathroom 2
                             Supply Room                                       Bathroom 4



                                        7'       Bathroom 5Kitchen 1
                                                                                Server Room                                                                                         Office 1              President's Office              Height: 9'
                                              3' 2"
                                              3' 2"




                                                                                                        493.73 SF Walls                                                                        143.19 SF Ceiling
                                                                                                             Main Office
                         20' 7"




                                                                                                        636.92 SF Walls & Ceiling                                                              143.19 SF Floor
                         20' 5"




                             Server Room
                                              17' 3"
                                              17' 1"




        Up                                                       Office 5
        Stairs 1                                                                                         15.91 SY Flooring                                                                      54.86 LF Floor Perimeter
                                                                                                         54.86 LF Ceil. Perimeter




                                                                                                                                                                                                                                         Up
                                                                                                                                                                                                                                    Stairs 3

                                      7' 4"                                                                Reception                      Office 6
                                                                                                                       Kitchen 3


     DESCRIPTION
     Warehouse Office 1                                                                     QUANTITY UNIT PRICE                                        TAX                      O&P                    RCV          DEPREC.                       ACV
     ----------- CEILINGS-----------
     43. R&R Suspended ceiling system - 2' x                                                    143.19 SF                          4.03                14.33                   118.28                 709.67                   (0.00)           709.67
     4'
     ----------- ELECTRICAL -----------
     44. R&R Fluorescent - acoustic grid                                                            6.00 EA                  221.48                    27.49                   271.28            1,627.65                      (0.00)          1,627.65
     fixture  - four
       Warehouse Office 2tube, 2'x 4'                                                                                                                                   Warehouse
     -------- HVAC - ACCESSORIES -------
     45. R&R Ceiling diffuser - square, lay-in -                                                    4.00 EA                  110.07                    17.41                    91.54                 549.23                   (0.00)           549.23
     24"

     Totals: Server Room                                                                                                                               59.23                   481.10            2,886.55                       0.00           2,886.55




                                      7' 4"
                                        7'
                                                                                Supply   Room
                                                                                   Bathroom 3
                                                                                                                                                      Bathroom 1                                                                          Height: 9'
                                                                                                                                                                   Ktichen 2
                                                                                                                                                                                           Office 2
                                                             Conference Room                            420.09
                                                                                                        Office 4   SF WallsOffice 3                                                            114.50 SF Ceiling
                                                        12' 5"




                                                                                                                                     Bathroom 2
                                              12' 5"
                   16' 10"




                                                                                                        534.59     SF Walls & Ceiling                                                          114.50 SF Floor
                             16' 4"




                             Supply Room                                              Bathroom 4

                                                                                                         12.72     SY Flooring                                                                  46.68 LF Floor Perimeter
                                                                                                         46.68     LF Ceil. Perimeter
                                               3' 11"
                                               3' 11"




                                                       Bathroom 5 Kitchen 1
                                                                                                                                                                                                                  Office 1                      President's Office



     DESCRIPTION                                                                            QUANTITY UNIT PRICE                                        TAX                      O&P                    RCV          DEPREC.                       ACV
                                                                                                                                   Main Office

     ----------- CEILINGS-----------
                  Server Room
                                 Office 5
     46. R&R Suspended ceiling system - 2' x                                                    114.50 SF                          4.03                11.46                    94.60                 567.50                   (0.00)           567.50
     4'
     ----------- ELECTRICAL -----------
     47. R&R Fluorescent - acoustic grid                                                            6.00 EA                  221.48
                                                                                                                            Reception
                                                                                                                                                       27.49       Office 6    271.28            1,627.65                      (0.00)          1,627.65
     fixture - four tube, 2'x 4'                                                                                                          Kitchen 3
     -------- HVAC - ACCESSORIES -------
     48. R&R Ceiling diffuser - square, lay-in -                                                    3.00 EA                  110.07                    13.06                    68.68                 411.95                   (0.00)           411.95
     24"

     Totals: Supply Room                                                                                                                               52.01                   434.56            2,607.10                       0.00           2,607.10




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                                                                                  Bathroom 1                                                                                          Height: 9'
                                            5' 5"

                                            5' 1"                                                184.61    SF Walls                                        26.29 SF Ceiling
                                                                                                 210.90    SF Walls & Ceiling                              26.29 SF Floor
                                                      5' 2"

                                                              5' 4"




                                         Bathroom 1
                                                                                                   2.92    SY Flooring                                     20.51 LF Floor Perimeter
                                                                      Ktichen 2 Warehouse
                                                                                                  20.51    LF Ceil. Perimeter
                                                                                                         Office 2
    Office 3
                                         Bathroom 2
                      DESCRIPTION                                                           QUANTITY UNIT PRICE              TAX                  O&P        RCV      DEPREC.                ACV
                      ----------- CEILINGS-----------
                      49. R&R Suspended ceiling system - 2' x                                 26.29 SF                4.03      2.63              21.72     130.30        (0.00)           130.30
                      4'
                      ----------- ELECTRICAL -----------
                      50. R&R Fluorescent - acoustic grid                                      2.00 EA              221.48      9.16              90.42     542.54        (0.00)           542.54
                      fixture - four tube, 2'x 4'
                      -------- HVAC - ACCESSORIES -------
                      51. R&R Ceiling diffuser - square, lay-in -                              1.00 EA              110.07      4.35               22.90
                                                                                                                                                Office 1    137.32        (0.00)           137.32 Office
                                                                                                                                                                                           President's

                      24"

                      Totals: Bathroom 1                                                                                     16.14               135.04     810.16            0.00         810.16


      Main Office
                                         Bathroom 1

                                             5' 1"
                                                                                  Bathroom 2                                                                                          Height: 9'
                                                                      Ktichen 2
                                                                                                 191.97
                                                                                                    Office 2SF Walls                                       28.37 SF Ceiling
         Office 3
                                                                                                 220.34 SF Walls & Ceiling                                 28.37 SF Floor
                                5' 11"




                                                              5' 9"
                                                      5' 7"




                                         Bathroom 2

                                                                                                   3.15 SY Flooring                                        21.33 LF Floor Perimeter
                                             5' 3"
                                                                                                  21.33 LF Ceil. Perimeter



                      DESCRIPTION                                                           QUANTITY UNIT PRICE              TAX                  O&P        RCV      DEPREC.                ACV
                                                  Office 6
n                     ----------- CEILINGS-----------
                      52. R&R Suspended ceiling system - 2' x                                 28.37 SF                4.03      2.84 Office 1     23.42     140.59        (0.00)              140.59
                                                                                                                                                                             President's Office
                 Kitchen 3
                      4'
                      ----------- ELECTRICAL -----------
                      53. R&R Fluorescent - acoustic grid                                      2.00 EA              221.48      9.16              90.42     542.54        (0.00)           542.54
                      fixture - four tube, 2'x 4'
                      -------- HVAC - ACCESSORIES -------
          Main Office
                      54. R&R Ceiling diffuser - square, lay-in -                              1.00 EA              110.07      4.35              22.90     137.32        (0.00)           137.32
                      24"

                      Totals: Bathroom 2                                                                                     16.35               136.74     820.45            0.00         820.45




                    BRABOINTERNATIONAL
                                     Office 6
                                                                                                                                                                 12/23/2019                 Page: 10
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eption

                    Kitchen 3
                                                                                                                                                                        Warehouse


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                                          5' 6"                          Bathroom 3                                                                                                                         Height: 9'
                                          5' 2"
                                                                                        216.19     SF Walls                                                             35.36 SF Ceiling
                                                                                                                                        Bathroom 1
                                                                                        251.55     SF Walls & Ceiling                                                   35.36 SF Floor
                                                    6' 10"




                                       Bathroom 3
                                                              7'




                                                                                          3.93     SY Flooring                                                          24.02 LF Floor Perimeter
                                                                                                                                                            Ktichen 2
                                                                                         24.02     LF Ceil. Perimeter                                                                            Office 2
rence Room                                                              Office 4                             Office 3
                                                                                                                                        Bathroom 2

                                                                                                                                                         Warehouse
                              Bathroom 4
                      DESCRIPTION                                                  QUANTITY UNIT PRICE                              TAX               O&P                    RCV           DEPREC.              ACV
                      ----------- CEILINGS-----------
                      55. R&R Suspended ceiling system - 2' x                        35.36 SF                    4.03                3.54             29.20                175.24              (0.00)          175.24
                      4'
                      ----------- ELECTRICAL -----------
         Kitchen 1
                      56. R&R Fluorescent - acoustic grid                             2.00 EA                 221.48                 9.16             90.42                542.54              (0.00)          542.54
                      fixture - four tube, 2'x 4'
                      -------- HVAC - ACCESSORIES -------
                      57. R&R Ceiling diffuser - square, lay-in -                     1.00 EA                 110.07                 4.35             22.90                137.32              (0.00)          137.32
                      24"
                                                                                                              Main Office
                      Totals: Bathroom 3                                                                                            17.05            142.52                855.10                0.00          855.10


   Office 5                                                                                                                    Bathroom 1
                                       Bathroom 3

                                                                                                                                              Ktichen 2
                                          5' 2"                          Bathroom 4                                                                                                 Office 2                Height: 9'
Conference Room                                                       Office 4                     Office 3
                                                                                                               Bathroom 2
                                                                                        231.54 SF Walls                                                                 39.77 SF Ceiling
                                                             7' 10"




                                                                                        271.32 SF Walls & Ceiling                                                       39.77 SF Floor
                                                    7' 8"
                               8' 2"




                                       Bathroom 4

                                                                                          4.42 SY Flooring                                                              25.73 LF Floor Perimeter
                                                                                                                                                            Office 6
                                                                                         25.73Reception
                                                                                               LF Ceil. Perimeter
                                          5' 8"
                                                                                                                        Kitchen 3


om 5          Kitchen 1
                      DESCRIPTION                                                  QUANTITY UNIT PRICE                              TAX               O&P                    RCV           DEPREC.              ACV
                                                                                                                                                                                                                 Office 1


                      ----------- CEILINGS-----------
                      58. R&R Suspended ceiling system - 2' x                        39.77 SF                    4.03                3.98             32.84                197.09              (0.00)          197.09
                      4'
                      ----------- ELECTRICAL -----------                                               Main Office

                      59. R&R Fluorescent - acoustic grid                             2.00 EA                 221.48                 9.16             90.42                542.54              (0.00)          542.54
                      fixture - four tube, 2'x 4'
       Office 5
                      -------- HVAC - ACCESSORIES -------
                      60. R&R Ceiling diffuser - square, lay-in -                     1.00 EA                 110.07                 4.35             22.90                137.32              (0.00)          137.32
                      24"

                      Totals: Bathroom 4                                                                                            17.49            146.16                876.95                0.00          876.95

                                                                                                                                              Office 6
                                                                                           Reception

                                                                                                               Kitchen 3




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                                                                                                                                                                                                             Bathroom 1
                                                                                                     Bathroom 3

                                                                                                                                                                                                                                 Ktichen 2

                                                   Conference Room                                                            Office 4                                         Office 3
                                                                                                                                                                                                             Bathroom 2


            Supply Room                                                                              Bathroom 4




                                                6' 7"                                        Bathroom 5                                                                                                                              Height: 9'
                                                6' 5"
                                                                                                                                                                                                    Warehouse
                                                                                                            243.35      SF Walls                                                          45.59 SF Ceiling
                           3' 11"
                                    3' 11"




                                                                                                            288.94      SF Walls & Ceiling                                                45.59 SF Floor
                                                                         7' 1"




                                             Bathroom 5                          Kitchen 1
                                                                                                              5.07      SY Flooring                                                       27.04 LF Floor Perimeter
                                    3' 2"
                           3' 2"




                                                                                                             27.04      LF Ceil. Perimeter



               DESCRIPTION                                                                          QUANTITY UNIT PRICE                              TAX                  O&P
                                                                                                                                                                            Main Office        RCV             DEPREC.                         ACV
                -----------
            Server Room    CEILINGS-----------
               61. R&R Suspended ceilingOffice 5 system - 2' x                                           45.59 SF             4.03                   4.56                 37.68               225.97                 (0.00)                  225.97
               4'
               ----------- ELECTRICAL -----------
               62. R&R Fluorescent - acoustic grid                                                        2.00 EA           221.48                   9.16                 90.42               542.54                 (0.00)                  542.54
               fixture - four tube, 2'x 4'
               -------- HVAC - ACCESSORIES -------
                                                                                                                                                                                 Bathroom 1
               63. R&R Ceiling diffuser - square,        lay-in
                                                   Bathroom 3   -                                         1.00 EA           110.07                   4.35                 22.90               137.32                 (0.00)                  137.32
               24"                                                                                                                                                 Reception
                                                                                                                                                                                                                                 Office 6
                                                                                                                                                                                                   Ktichen 2
                                                                                                                                                                                                                                             Office 2
               Totals:   Bathroom 5                                                                          Office 4                            18.07
                                                                                                                                                 Office 3             151.00              Kitchen 3
                                                                                                                                                                                              905.83                      0.00               905.83
                 Conference Room
                                                                                                                                                                                 Bathroom 2


pply Room                                                                              Bathroom 4



                                              5' 11"                                         Kitchen 1                                                                                                                               Height: 9'
                                               5' 9"
                                                                                                            231.07      SF Walls                                                          40.75 SF Ceiling
                                                                                                            271.82      SF Walls & Ceiling                                                40.75 SF Floor
                                                                 7' 3"
                                                         7' 1"




              Bathroom 5                     Kitchen 1

                                                                                                              4.53      SY Flooring                                                       25.67 LF Floor Perimeter
                                                                                                             25.67      LF Ceil. Perimeter
                                               6' 1"



                                                                                                                                                     Main Office
               DESCRIPTION                                                                          QUANTITY UNIT PRICE                              TAX                  O&P                  RCV             DEPREC.                         ACV
rver Room
               ----------- CEILINGS-----------
               64. R&ROffice 5
                           Suspended   ceiling system - 2' x                                             40.75 SF             4.03                   4.08                 33.66               201.97                 (0.00)                  201.97
               4'
               ----------- ELECTRICAL -----------
               65. R&R Fluorescent - acoustic grid                                                        2.00 EA           221.48                   9.16                 90.42               542.54                 (0.00)                  542.54
               fixture - four tube, 2'x 4'
               -------- HVAC - ACCESSORIES -------
               66. R&R Ceiling diffuser - square, lay-in -                                                1.00 EA           110.07       Reception
                                                                                                                                                     4.35                 22.90               137.32
                                                                                                                                                                                                  Office 6           (0.00)                  137.32
               24"
                                                                                                                                                              Kitchen 3

               Totals: Kitchen 1                                                                                                                 17.59                146.98                  881.83                      0.00               881.83




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                                                            Warehouse




                                                    6' 4"                                  Ktichen 2                                                                                                                  Height: 9'
                                                      6'
                                                                           Bathroom 1
                                   5' 2"
                                           5' 4"




                            Bathroom 1                                                                          307.65      SF Walls                                                   66.55 SF Ceiling
                                                                                                                374.20      SF Walls & Ceiling                                         66.55 SF Floor
                                                             11' 1"
                                                             11' 5"




                                              Ktichen 2                                        Ktichen 2
                                                                                        Office 2                              Office 2
     Office 3                 Office 3                                                                            7.39      SY Flooring                                                34.18 LF Floor Perimeter
                                           5' 9"
                                   5' 7"




                            Bathroom 2
                                                                           Bathroom 2
                                                                                                                 34.18      LF Ceil. Perimeter
                                                    6' 6"




                       DESCRIPTION                                                                         QUANTITY UNIT PRICE                TAX                          O&P                RCV   DEPREC.                    ACV
                       ----------- CEILINGS-----------                                                           Office 1                  President's Office

                       67. R&R Suspended ceiling system - 2' x                                               66.55 SF             4.03           6.66                      54.98          329.84        (0.00)                329.84
                       4'                                                                                                                                       Office 1                                 President's Office

      Main Office
                       ----------- ELECTRICAL -----------
                       68. R&R Fluorescent - acoustic grid                                                    2.00 EA           221.48           9.16                      90.42          542.54        (0.00)                542.54
                       fixture - four tube, 2'x 4'
                       -------- HVAC - ACCESSORIES -------
                              Main Office
                       69. R&R Ceiling diffuser - square, lay-in -                                            1.00 EA           110.07           4.35                      22.90          137.32        (0.00)                137.32
                       24"




                                                                                                                                                                                         Up
                                                                                                                                                                                   Stairs 3

                       Totals: Ktichen 2                                                                                                      20.17                   168.30           1,009.70              0.00         1,009.70
eception                                       Office 6

                Kitchen 3




                                                   6' 10"                                  Kitchen 3                                                                                                                  Height: 9'
                                                   6' 8"
                      Reception
                                                                                               Office 6         247.40      SF Walls                                                   47.18 SF Ceiling
                                                                                                                294.59      SF Walls & Ceiling                                         47.18 SF Floor
                                                                        7' 3"
                                                                7' 1"




                                             Kitchen 3

                                                                                                                  5.24      SY Flooring                                                27.49 LF Floor Perimeter
                                                                                                                 27.49      LF Ceil. Perimeter
                                                     7'




                       DESCRIPTION                                                                         QUANTITY UNIT PRICE                TAX                          O&P                RCV   DEPREC.                    ACV
                       ----------- CEILINGS-----------
                       70. R&R Suspended ceiling system - 2' x                                               47.18 SF             4.03           4.72                      38.98          233.83        (0.00)                233.83
                       4'
                       ----------- ELECTRICAL -----------
                       71. R&R Fluorescent - acoustic grid                                                    2.00 EA           221.48           9.16                      90.42          542.54        (0.00)                542.54
                       fixture - four tube, 2'x 4'
                       -------- HVAC - ACCESSORIES -------
                       72. R&R Ceiling diffuser - square, lay-in -                                            1.00 EA           110.07           4.35                      22.90          137.32        (0.00)                137.32
                       24"

                       Totals: Kitchen 3                                                                                                      18.23                   152.30              913.69             0.00             913.69

                       Total: Interior                                                                                                     1,680.56              13,079.24           78,473.69               0.00       78,473.69



                                                                                                                                    Roof
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                            142' 8"                          Metal Roof
                                                                          12974.47 Surface Area                          129.74 Number of Squares
                                                   89'6"2"




                                                                            469.77 Total Perimeter Length
                                                  96'




                       Metal
                         F1 Roof
                                     "
                                   '4




            49' 4"                       51' 8"
                                 10
                     10




                            27' 1"
                        '
                       4"




      DESCRIPTION                                                  QUANTITY UNIT PRICE               TAX        O&P           RCV     DEPREC.           ACV
      -----------------ROOF
                      Parapet   COVERING-----------
      73. Additional charge for high roof (2         129.74 SQ             4.10       0.00                     106.38       638.31       (0.00)       638.31
      stories or greater)
      74. R&R Metal roofing - High grade            12,974. SF             7.91   1,745.71                   20,874.74   125,248.50      (0.00)   125,248.50
                                                         47
      75. Additional charge for high roof (2         129.74 SQ            15.15       0.00                     393.12      2,358.68      (0.00)      2,358.68
      stories or greater)
      76. R&R Insulation - ISO board, 3"             142.72 SQ          446.59    1,335.40                   13,014.56    78,087.28      (0.00)     78,087.28
      77. Add for tapered insulation*               142.72 SQ           224.52      623.12                    6,533.32    39,199.93      (0.00)     39,199.93
      *10% waste added, tapered insulation required for code compliant roof slope
      78. Membrane roofing - cant strips - perlite  469.77 LF              2.95      13.74                     279.90      1,679.46    (279.91)      1,399.55
      79. R&R Flashing - L flashing -               469.77 LF              3.71      39.39                     356.46      2,138.69      (0.00)      2,138.69
      galvanized
      80. R&R Counterflashing - Apron flashing       469.77 LF             8.03      38.47                     762.16      4,572.88      (0.00)      4,572.88
      81. R&R Eave trim for metal roofing - 26       469.77 LF             5.42      65.96                     522.44      3,134.55      (0.00)      3,134.55
      gauge
      82. R&R Flashing - pipe jack                     8.00 EA            54.83       5.99                      88.92       533.55      <0.00>        533.55
      ------------------------------DOORS & WINDOWS------------------------------
      83. R&R Skylight - single dome fixed, 12.        2.00 EA          405.22       36.37                     169.36      1,016.17      (0.00)      1,016.17
      6 - 15.5 sf
      -------- HVAC - CONDENSER/AIR HANDLER REPLACEMENT-------
      84. R&R Central air - condenser unit - 3         4.00 EA        2,715.87      582.14                    2,289.12    13,734.74      (0.00)     13,734.74
      ton - 16-21 SEER
      -----------------ELECTRICAL SERVICE -----------
      85. R&R Meter mast for overhead power -          1.00 EA          571.73        6.97                     115.76       694.46       (0.00)       694.46
      2" conduit
      -----------------ELECTRICAL -----------
      86. R&R #10 gauge copper wire - stranded        40.00 LF             1.22       0.78                        9.92        59.50      (0.00)        59.50
      or solid
      87. PVC schedule 40 conduit, 2"                 40.00 LF             7.00       1.92                      56.38       338.30       (0.00)       338.30
      88. R&R Disconnect box - 60 amp - non            4.00 EA          192.13        4.16                     154.54       927.22       (0.00)       927.22
      fused
      89. Junction box                                 4.00 EA          113.42        2.38                      91.22       547.28       (0.00)       547.28

      Totals: Metal Roof                                                                          4,502.50   45,818.30   274,909.50      279.91   274,629.59




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                          Metal
                            F1 Roof




                                   142' 5"                              Parapet                                                                                     Height: 1' 6"
                                                                                       490.07   SF Walls                               12941.17 SF Ceiling
                                                                   1"
                                                               89' 5"




                            Parapet                                                  13431.23   SF Walls & Ceiling                     12941.17 SF Floor
                                                                                      1437.91   SY Flooring                              326.71 LF Floor Perimeter
                                                                                       326.71   LF Ceil. Perimeter
                                                ""
                                           '' 55




                2"
            49' 5"                                   51' 7"
                                                         10"
                                       1100




                                   26'
                                   27' 11"
                     1100




                                       2"
                         '' 55
                              ""




      Missing Wall                                                                        142' 5 1/8" X 1' 6"               Opens into Exterior

      DESCRIPTION                                                             QUANTITY UNIT PRICE                  TAX        O&P            RCV     DEPREC.               ACV
      -----------------PARAPET----------
      90. Concrete patch / small repair                                             47.00 EA         83.85         6.11       789.42      4,736.48       (0.00)         4,736.48
      91. Epoxy injection - concrete repair (per                                   228.00 LF         33.89        24.90     1,550.36      9,302.18       (0.00)         9,302.18
      LF of crack)
      92. Two coat stucco over masonry                                              261.20 SF         4.29         0.00      224.12       1,344.67       (0.00)         1,344.67
      93. Waterproof concrete & masonry paint                                     1,306.84 SF         1.33        45.02      356.62       2,139.74       (0.00)         2,139.74

      Totals: Parapet                                                                                             76.03     2,920.52     17,523.07           0.00      17,523.07

      Total: Roof                                                                                               4,578.53   48,738.82    292,432.57      279.91        292,152.66




                                                                        General Conditions

      DESCRIPTION                                                             QUANTITY UNIT PRICE                  TAX        O&P            RCV     DEPREC.               ACV
      94. Temporary Repairs*                            1.00 EA        5,515.00          0.00                               1,103.00      6,618.00       (0.00)         6,618.00
      95. Debris chute mounting hardware - per          6.00 WK           25.00          0.00                                  30.00        180.00       (0.00)           180.00
      week
      4 each @ 4 weeks
      96. Debris chute - per week - 30" x 4'            6.00 WK           15.60          0.00                                 18.72        112.32        (0.00)           112.32
      section
      4 each @ 4 weeks
      97. Debris chute hopper - per week - 30" x        6.00 WK           28.80          0.00                                 34.56        207.36        (0.00)           207.36
      4' section
      4 each @ 4 weeks
      98. R&R Temporary fencing                      538.00 LF             6.86          0.00                                738.14       4,428.82     (640.22)         3,788.60
      99. Safety Monitor - per hour*                 120.00 HR            33.49          0.00                                803.76       4,822.56     (803.76)         4,018.80
      *Safety monitor for pedestrian and traffic protection during normal work hours, 1 month
      100. Scaffold - per section (per month)           1.00 MO          112.88          0.00                                 22.58        135.46       (22.58)           112.88
      *20 sections of scaffolding for 1 month for pedestrian protection along sidewalks
      101. R&R Stop/Traffic sign - aluminum -           3.00 EA          130.51         18.87                                 82.10        492.50       (76.71)           415.79
      up to 36"
      102. Scissor lift - 26' platform height (per      3.00 WK          517.50          0.00                                310.50       1,863.00       (0.00)         1,863.00
      week)
      103. Barricade and warning device - setup       20.00 HR            53.51          0.00                                214.04       1,284.24     (214.04)         1,070.20
      and takedown
      *Allowance for 2 workers, 20 hours per worker.
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                                                        CONTINUED - General Conditions



      DESCRIPTION                              QUANTITY UNIT PRICE                  TAX           O&P           RCV      DEPREC.            ACV
      104. Telehandler/forklift (per month) - no          1.00 MO      3,063.00        0.00       612.60     3,675.60         (0.00)     3,675.60
      operator
      105. Warning sign, 4' x 4' on a 6' post (per       43.00 DA          2.36        0.00        20.30       121.78         (0.00)       121.78
      day)
      6 signs for 30 days
      106. Caution tape                               1,800.00 LF          0.07        1.17        25.44       152.61         (0.00)       152.61
      107. Traffic cones (per unit, per day)            120.00 DA          0.70        0.00        16.80       100.80        (16.80)         84.00
      80 cones for 30 days
      108. Electrician - per hour                        36.00 HR         98.02        0.00       705.74     4,234.46       (705.74)     3,528.72
      *Electrician allowance to assess and repair affected electrical components.
      109. Job-site moving/storage container -            1.00 MO        220.00      14.30         46.86       281.16        (46.86)       234.30
      20' long - per month
      110. Temporary toilet (per month)                   2.00 MO        147.38        0.00        58.96       353.72        (58.95)       294.77
      Addresses (4) Job-Site Toilets for a total of (1) Months
      111. Temporary construction office -                2.00 MO        279.08        0.00       111.64       669.80       (111.63)       558.17
      portable (trailer)
      112. Cleaning Technician - per hour                80.00 HR         37.15     231.82        594.40     3,798.22       (633.04)     3,165.18
      Allowance addresses Progressive Daily Job Site Clean-Up and Final Post Construction Clean-Up
      113. Dumpster load - Approx. 40 yards, 7-           3.00 EA        842.02        0.00       505.22     3,031.28         (0.00)     3,031.28
      8 tons of debris
      114. General Demolition - per hour                120.00 HR         38.77        0.00       930.48     5,582.88         (0.00)     5,582.88
      Addresses additional labor necessary to haul debris to trash shoots and larger debris down building to ground level and transporting to
      dumpster.
      115. Commercial Supervision / Project              67.00 HR         59.52        0.00       797.56     4,785.40       (797.57)     3,987.83
      Management - per hour




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                                                             CONTINUED - General Conditions



      DESCRIPTION                                   QUANTITY UNIT PRICE                     TAX            O&P            RCV        DEPREC.              ACV
      *24 hours per week project supervision through the duration of repairs


      CONSTRUCTION MANAGER (PROJECT MANAGER) DUTIES & RESPONSIBILITIES
      1). Reconstruction planning. Working with architects, engineers, consultants, and government officials on design studies, site development, building
      systems, building codes and permits, planning and scheduling, cost estimating, and value engineering to insure the best quality project possible for
      the allotted budget.
      2) Bidding process. Supervise the bidding process which includes qualifying bidders, holding pre bid conferences, evaluating bids and making
      recommendations.
      3). Set-Up and manage site. Insure that the site is functional and efficient. This includes things like traffic flow, parking, deliveries, storage,
      equipment, communications, safety, trash pick-up, portable toilets and drinking water.
      4). Administration. Keep track of project cost, time and quality. Keep records to document these things. Example of records are; reports, submittal,
      shop drawings, change orders, Inspections records, time cards, and payroll records, Cost accounting.
      5). Planning and Scheduling. Organizing the sequence of events and allotting the time frame to them. Monitor the work to ensure that it is
      proceeding according to plan and that the prescribed levels of quality, performance and safety are being met. Monitoring is done through
      observation inspection and testing. If the work does not proceed according to plan, the CM will make changes to bring the project back in line
      (Subject to contractor/owner approval). In addition to this, the CM will see the contractor documents the materials, processes and labor used to
      ensure that they conform to the project specifications. The Construction Manager's job is to oversee the entire project from start to finish and to
      make it run as smoothly as possible and keep the owner informed of the status of
      the job.
      XACTWARE DEFINITION OF WHATS INCLUDED AND NOT INCLUDED.
      Construction Supervisor (Superintendent) Duties and Responsibilities: (OSHA 1910.1200 Appendix E Item #2 Identify responsible staff) (OSHA
      1926.32 definitions (F) Competent person (M) Qualified person (Refer to OSHA regulations)
      1). Report and coordinate with the general contractor and the Construction manager.
      2). Coordinate the various sub-contractors work processes and movements around the site.
      3). Oversee the work of varies tradesman to ensure that is being done to specifications and in a timely manner.
      4). Work with the sub-contractors to see the materials and equipment for each specialty are delivered and stored on site properly and in time and
      sequence to be ready as needed.
      5). Keep track of all persons entering the site. See that they are authorized to be there. If not see that they leave immediately. If they are authorized
      see that they are safe and accommodated to the extent necessary to complete their function.
      6). Keep a log of all persons entering and leaving the site, as well as all the equipment and materials delivered to the site.
      7). The super will normally be the first person on site in the morning. He will open the site, inspect the grounds and equipment before workers
      arrive. As work crews arrive, he will meet with them and pass along pertinent information as well as assign work areas and tasks to be completed.
      Periodically the Super will check the work in progress, deal with minor conflicts and problems, and generally keep things going as smooth as
      possible. Additionally, he will enforce health and safety rules, and provide information, help, and possibly training anyone on site that needs these
      things for the proper performance of their job. At the end of the day, the super will inspect the grounds and equipment before closing the site for the
      night.

      Totals: General Conditions                                                          266.16       7,783.40      46,931.97         4,127.90      42,804.07

      Line Item Totals: BRABOINTERNATIONAL                                              7,795.66      79,805.16     479,247.07         4,407.81     474,839.26




     BRABOINTERNATIONAL                                                                                                       12/23/2019                 Page: 17
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      Grand Total Areas:
        28,704.20 SF Walls             38,378.84 SF Ceiling              67,083.04 SF Walls and Ceiling
        38,428.68 SF Floor              4,269.85 SY Flooring              2,683.19 LF Floor Perimeter
             0.00 SF Long Wall              0.00 SF Short Wall            2,680.39 LF Ceil. Perimeter

        38,428.68 Floor Area           39,045.98 Total Area              28,091.33 Interior Wall Area
        15,463.35 Exterior Wall Area    1,392.75 Exterior Perimeter of
                                                 Walls

        12,974.47 Surface Area           129.74 Number of Squares             0.00 Total Perimeter Length
             0.00 Total Ridge Length       0.00 Total Hip Length




     BRABOINTERNATIONAL                                                                 12/23/2019          Page: 18
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                                                             Summary for Dwelling
      Line Item Total                                                                             391,646.25
      Material Sales Tax                                                                            7,357.89
      Cleaning Mtl Tax                                                                                  4.85
      Storage Rental Tax                                                                               14.30

      Subtotal                                                                                    399,023.29
      Overhead                                                                                     39,902.58
      Profit                                                                                       39,902.58
      Cleaning Sales Tax                                                                              418.62

      Replacement Cost Value                                                                     $479,247.07
      Less Depreciation                                                                            (4,407.81)

      Actual Cash Value                                                                          $474,839.26
      Net Claim                                                                                  $474,839.26

      Total Recoverable Depreciation                                                                4,407.81

      Net Claim if Depreciation is Recovered                                                     $479,247.07




                                               Tom Irmiter




     BRABOINTERNATIONAL                                                             12/23/2019        Page: 19
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                                                    Recap of Taxes, Overhead and Profit




               Overhead        Profit (10%)   Material Sales   Cleaning Mtl   Cleaning Sales   Manuf. Home Storage Rental    Total Tax
                  (10%)                         Tax (6.5%)      Tax (6.5%)       Tax (6.5%)       Tax (5%)    Tax (6.5%)       (6.5%)

      Line Items
                   39,902.58      39,902.58         7,357.89           4.85          418.62            0.00         14.30         0.00

      Total
                   39,902.58      39,902.58         7,357.89           4.85          418.62            0.00         14.30         0.00




     BRABOINTERNATIONAL                                                                                       12/23/2019        Page: 20
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                                             Recap by Room

     Estimate: BRABOINTERNATIONAL

     Area: Exterior
            Exterior                                                        49,934.73      12.75%

             Area Subtotal: Exterior                                        49,934.73      12.75%

     Area: Interior                                                         12,127.99      3.10%
            Warehouse Office 1                                               1,149.51      0.29%
            Warehouse Office 2                                                 936.97      0.24%
            Reception                                                          733.38      0.19%
            Main Office                                                     12,922.95      3.30%
            President's Office                                               5,820.97      1.49%
            Office 1                                                         3,670.31      0.94%
            Office 2                                                         1,710.56      0.44%
            Office 3                                                         2,513.08      0.64%
            Office 4                                                         2,397.74      0.61%
            Office 5                                                         2,902.78      0.74%
            Office 6                                                         2,625.45      0.67%
            Conference Room                                                  3,981.87      1.02%
            Server Room                                                      2,346.22      0.60%
            Supply Room                                                      2,120.53      0.54%
            Bathroom 1                                                         658.98      0.17%
            Bathroom 2                                                         667.36      0.17%
            Bathroom 3                                                         695.53      0.18%
            Bathroom 4                                                         713.30      0.18%
            Bathroom 5                                                         736.76      0.19%
            Kitchen 1                                                          717.26      0.18%
            Ktichen 2                                                          821.23      0.21%
            Kitchen 3                                                          743.16      0.19%

             Area Subtotal: Interior                                        63,713.89      16.27%

     Area: Roof
            Metal Roof                                                     224,588.70      57.34%
            Parapet                                                         14,526.52       3.71%

             Area Subtotal: Roof                                           239,115.22      61.05%
             General Conditions                                             38,882.41       9.93%

     Subtotal of Areas                                                     391,646.25     100.00%


     Total                                                                 391,646.25     100.00%

     BRABOINTERNATIONAL                                                     12/23/2019       Page: 21
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                   Exterior Photo Log




                                    Figure 01. (GD)




                                    Figure 02. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 03. (GD)




                                    Figure 04. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 05. (GD)




                                    Figure 06. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 07. (GD)




                                    Figure 08. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 09. (GD)




                                    Figure 10. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 11. (GD)




                                    Figure 12. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                    Figure 13. (GD)




                                    Figure 14. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                    Figure 15. (GD)




                                    Figure 16. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 17. (GD)




                                    Figure 18. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 19. (GD)




                                    Figure 20. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 21. (GD)




                                    Figure 22. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 23. (GD)




                                    Figure 24. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 25. (GD)




                                    Figure 26. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 27. (GD)




                                    Figure 28. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 29. (GD)




                                    Figure 30. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 31. (GD)




                                    Figure 32. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 33. (GD)




                                    Figure 34. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 35. (GD)




                                    Figure 36. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 37. (GD)




                                    Figure 38. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 39. (GD)




                                    Figure 40. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 41. (GD)




                                    Figure 42. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 43. (GD)




                                    Figure 44. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 45. (GD)




                                    Figure 46. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 47. (GD)




                                    Figure 48. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 49. (GD)




                                    Figure 50. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 51. (GD)




                                    Figure 52. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 53. (GD)




                                    Figure 54. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 55. (GD)




                                    Figure 56. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 57. (GD)




                                    Figure 58. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 59. (GD)




                                    Figure 60. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 61. (GD)




                                    Figure 62. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                    Figure 63. (GD)




                                    Figure 64. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                    Figure 65. (GD)




                                    Figure 66. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 67. (GD)




                                    Figure 68. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 69. (GD)




                                    Figure 70. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 71. (GD)




                                    Figure 72. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 73. (GD)




                                    Figure 74. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 75. (GD)




                                    Figure 76. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 77. (GD)




                                    Figure 78. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 79. (GD)




                                    Figure 80. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 81. (GD)




                                    Figure 82. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 83. (GD)




                                    Figure 84. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 85. (GD)




                                    Figure 86. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 87. (GD)




                                    Figure 88. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 89. (GD)




                                    Figure 90. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 91. (GD)




                                    Figure 92. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                    Figure 93. (GD)




                                    Figure 94. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 95. (GD)




                                    Figure 96. (GD)




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                                                                       Brabo 002164
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 97. (GD)




                                    Figure 98. (GD)




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                                                                       Brabo 002165
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                    Figure 99. (GD)




                                Figure 100.             (GD)




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                                                                       Brabo 002166
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 101.             (GD)




                                Figure 102.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 103.             (GD)




                                Figure 104.             (GD)




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                                                                       Brabo 002168
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 105.             (GD)




                                Figure 106.             (GD)




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                                                                       Brabo 002169
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 107.             (GD)




                                Figure 108.             (GD)




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                                                                       Brabo 002170
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 109.             (GD)




                                Figure 110.             (GD)




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                                                                       Brabo 002171
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 111.             (GD)




                                Figure 112.             (GD)




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                                                                       Brabo 002172
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 113.             (GD)




                                Figure 114.             (GD)




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                                                                       Brabo 002173
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 115.             (GD)




                                Figure 116.             (GD)




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                                                                       Brabo 002174
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 117.             (GD)




                                Figure 118.             (GD)




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                                                                       Brabo 002175
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 119.             (GD)




                                Figure 120.             (GD)




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                                                                       Brabo 002176
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 121.             (GD)




                                Figure 122.             (GD)




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                                                                       Brabo 002177
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 123.             (GD)




                                Figure 124.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 125.             (GD)




                                Figure 126.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 127.             (GD)




                                Figure 128.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 129.             (GD)




                                Figure 130.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 131.             (GD)




                                Figure 132.             (GD)




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                                                                       Brabo 002182
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 133.             (GD)




                                Figure 134.             (GD)




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                                                                       Brabo 002183
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 135.             (GD)




                                Figure 136.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 137.             (GD)




                                Figure 138.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 139.             (GD)




                                Figure 140.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 141.             (GD)




                                Figure 142.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 143.             (GD)




                                Figure 144.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 145.             (GD)




                                Figure 146.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 147.             (GD)




                                Figure 148.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 149.             (GD)




                                Figure 150.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 151.             (GD)




                                Figure 152.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 153.             (GD)




                                Figure 154.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 155.             (GD)




                                Figure 156.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 157.             (GD)




                                Figure 158.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 159.             (GD)




                                Figure 160.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 161.             (GD)




                                Figure 162.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 163.             (GD)




                                Figure 164.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 165.             (GD)




                                Figure 166.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 167.             (GD)




                                Figure 168.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 169.             (GD)




                                Figure 170.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 171.             (GD)




                                Figure 172.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 173.             (GD)




                                Figure 174.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 175.             (GD)




                                Figure 176.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 177.             (GD)




                                Figure 178.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 179.             (GD)




                                Figure 180.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 181.             (GD)




                                Figure 182.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 183.             (GD)




                                Figure 184.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 185.             (GD)




                                Figure 186.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 187.             (GD)




                                Figure 188.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 189.             (GD)




                                Figure 190.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 191.             (GD)




                                Figure 192.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Exterior Photo Log




                                Figure 193.             (GD)




                                Figure 194.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 01. (GD)




                                    Figure 02. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 03. (GD)




                                    Figure 04. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 05. (GD)




                                    Figure 06. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 07. (GD)




                                    Figure 08. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 09. (GD)




                                    Figure 10. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 11. (GD)




                                    Figure 12. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 13. (GD)




                                    Figure 14. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 15. (GD)




                                    Figure 16. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 17. (GD)




                                    Figure 18. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 19. (GD)




                                    Figure 20. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 21. (GD)




                                    Figure 22. (GD)




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                                                                       Brabo 002224
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 23. (GD)




                                    Figure 24. (GD)




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                                                                       Brabo 002225
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 25. (GD)




                                    Figure 26. (GD)




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                                                                       Brabo 002226
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 27. (GD)




                                    Figure 28. (GD)




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                                                                       Brabo 002227
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 29. (GD)




                                    Figure 30. (GD)




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                                                                       Brabo 002228
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 31. (GD)




                                    Figure 32. (GD)




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                                                                       Brabo 002229
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 33. (GD)




                                    Figure 34. (GD)




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                                                                       Brabo 002230
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 35. (GD)




                                    Figure 36. (GD)




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                                                                       Brabo 002231
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 37. (GD)




                                    Figure 38. (GD)




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                                                                       Brabo 002232
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 39. (GD)




                                    Figure 40. (GD)




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                                                                       Brabo 002233
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 41. (GD)




                                    Figure 42. (GD)




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                                                                       Brabo 002234
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 43. (GD)




                                    Figure 44. (GD)




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                                                                       Brabo 002235
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 45. (GD)




                                    Figure 46. (GD)




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                                                                       Brabo 002236
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 47. (GD)




                                    Figure 48. (GD)




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                                                                       Brabo 002237
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 49. (GD)




                                    Figure 50. (GD)




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                                                                       Brabo 002238
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 51. (GD)




                                    Figure 52. (GD)




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                                                                       Brabo 002239
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 53. (GD)




                                    Figure 54. (GD)




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                                                                       Brabo 002240
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 55. (GD)




                                    Figure 56. (GD)




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                                                                       Brabo 002241
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 57. (GD)




                                    Figure 58. (GD)




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                                                                       Brabo 002242
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                   Interior Photo Log




                                    Figure 59. (GD)




                                    Figure 60. (GD)




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                                                                       Brabo 002243
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 01. (GD)




                                     Figure 02. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 03. (GD)




                                     Figure 04. (GD)




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                                                                      Brabo 002245
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 05. (GD)




                                     Figure 06. (GD)




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                                                                      Brabo 002246
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 07. (GD)




                                     Figure 08. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 09. (GD)




                                     Figure 10. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 11. (GD)




                                     Figure 12. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 13. (GD)




                                     Figure 14. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 15. (GD)




                                     Figure 16. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 17. (GD)




                                     Figure 18. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 19. (GD)




                                     Figure 20. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 21. (GD)




                                     Figure 22. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 23. (GD)




                                     Figure 24. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 25. (GD)




                                     Figure 26. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 27. (GD)




                                     Figure 28. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 29. (GD)




                                     Figure 30. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 31. (GD)




                                     Figure 32. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 33. (GD)




                                     Figure 34. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 35. (GD)




                                     Figure 36. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 37. (GD)




                                     Figure 38. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 39. (GD)




                                     Figure 40. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 41. (GD)




                                     Figure 42. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 43. (GD)




                                     Figure 44. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 45. (GD)




                                     Figure 46. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 47. (GD)




                                     Figure 48. (GD)




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                                                                       Brabo 002267
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 49. (GD)




                                     Figure 50. (GD)




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                                                                       Brabo 002268
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 51. (GD)




                                     Figure 52. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 53. (GD)




                                     Figure 54. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 55. (GD)




                                     Figure 56. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 57. (GD)




                                     Figure 58. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 59. (GD)




                                     Figure 60. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 61. (GD)




                                     Figure 62. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 63. (GD)




                                     Figure 64. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 65. (GD)




                                     Figure 66. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 67. (GD)




                                     Figure 68. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 69. (GD)




                                     Figure 70. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 71. (GD)




                                     Figure 72. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 73. (GD)




                                     Figure 74. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 75. (GD)




                                     Figure 76. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 77. (GD)




                                     Figure 78. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 79. (GD)




                                     Figure 80. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 81. (GD)




                                     Figure 82. (GD)




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                                                                       Brabo 002284
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 83. (GD)




                                     Figure 84. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 85. (GD)




                                     Figure 86. (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 87. (GD)




                                     Figure 88. (GD)




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                                                                       Brabo 002287
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 89. (GD)




                                     Figure 90. (GD)




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                                                                       Brabo 002288
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 91. (GD)




                                     Figure 92. (GD)




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                                                                       Brabo 002289
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 93. (GD)




                                     Figure 94. (GD)




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                                                                       Brabo 002290
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                     Figure 95. (GD)




                                     Figure 96. (GD)




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                                                                       Brabo 002291
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                     Figure 97. (GD)




                                     Figure 98. (GD)




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                                                                       Brabo 002292
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                               Interior Warehouse Photo Log




                                     Figure 99. (GD)




                                Figure 100.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 101.             (GD)




                                Figure 102.             (GD)




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                                                                       Brabo 002294
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 103.             (GD)




                                Figure 104.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 105.             (GD)




                                Figure 106.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 107.             (GD)




                                Figure 108.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 109.             (GD)




                                Figure 110.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 111.             (GD)




                                Figure 112.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 113.             (GD)




                                Figure 114.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 115.             (GD)




                                Figure 116.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 117.             (GD)




                                Figure 118.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 119.             (GD)




                                Figure 120.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 121.             (GD)




                                Figure 122.             (GD)




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                                                                       Brabo 002304
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 123.             (GD)




                                Figure 124.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                Figure 125.             (GD)




                                Figure 126.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                Figure 127.             (GD)




                                Figure 128.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 129.             (GD)




                                Figure 130.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 131.             (GD)




                                Figure 132.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                Figure 133.             (GD)




                                Figure 134.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 135.             (GD)




                                Figure 136.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 137.             (GD)




                                Figure 138.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                Figure 139.             (GD)




                                Figure 140.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
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                                Figure 141.             (GD)




                                Figure 142.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 143.             (GD)




                                Figure 144.             (GD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                                Figure 145.             (GD)




                                Figure 146.             (GD)




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                                Figure 01. (KJS)




                                Figure 02. (KJS)




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                   Forensic Building Science, Inc.
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                                Figure 03. (KJS)




                                Figure 04. (KJS)




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                                Figure 05. (KJS)




                                Figure 06. (KJS)




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                   Forensic Building Science, Inc.
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                                Figure 07. (KJS)




                                Figure 08. (KJS)




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                                Figure 09. (KJS)




                                Figure 10. (KJS)




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                                Figure 11. (KJS)




                                Figure 12. (KJS)




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                                Figure 13. (KJS)




                                Figure 14. (KJS)




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                                Figure 15. (KJS)




                                Figure 16. (KJS)




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                                Figure 17. (KJS)




                                Figure 18. (KJS)




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                                Figure 19. (KJS)




                                Figure 20. (KJS)




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                                Figure 21. (KJS)




                                Figure 22. (KJS)




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                                Figure 23. (KJS)




                                Figure 24. (KJS)




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                                Figure 25. (KJS)




                                Figure 26. (KJS)




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                                Figure 27. (KJS)




                                Figure 28. (KJS)




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                                Figure 29. (KJS)




                                Figure 30. (KJS)




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                                Figure 31. (KJS)




                                Figure 32. (KJS)




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                                Figure 33. (KJS)




                                Figure 34. (KJS)




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                                Figure 35. (KJS)




                                Figure 36. (KJS)




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                                Figure 37. (KJS)




                                Figure 38. (KJS)




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                                Figure 39. (KJS)




                                Figure 40. (KJS)




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                                Figure 41. (KJS)




                                Figure 42. (KJS)




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                                Figure 43. (KJS)




                                Figure 44. (KJS)




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                                Figure 45. (KJS)




                                Figure 46. (KJS)




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                                Figure 47. (KJS)




                                Figure 48. (KJS)




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                                Figure 49. (KJS)




                                Figure 50. (KJS)




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                                Figure 51. (KJS)




                                Figure 52. (KJS)




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                                Figure 53. (KJS)




                                Figure 54. (KJS)




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                                Figure 55. (KJS)




                                Figure 56. (KJS)




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                                Figure 57. (KJS)




                                Figure 58. (KJS)




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                                Figure 59. (KJS)




                                Figure 60. (KJS)




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                                Figure 61. (KJS)




                                Figure 62. (KJS)




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                                Figure 63. (KJS)




                                Figure 64. (KJS)




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                                                               Brabo 002348
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                   Forensic Building Science, Inc.
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                                Figure 65. (KJS)




                                Figure 66. (KJS)




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                   Forensic Building Science, Inc.
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                                Figure 67. (KJS)




                                Figure 68. (KJS)




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                                Figure 69. (KJS)




                                Figure 70. (KJS)




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                                Figure 71. (KJS)




                                Figure 72. (KJS)




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                                Figure 73. (KJS)




                                Figure 74. (KJS)




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                                Figure 75. (KJS)




                                Figure 76. (KJS)




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                                Figure 77. (KJS)




                                Figure 78. (KJS)




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                                Figure 79. (KJS)




                                Figure 80. (KJS)




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                                Figure 81. (KJS)




                                Figure 82. (KJS)




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                                Figure 83. (KJS)




                                Figure 84. (KJS)




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                                Figure 85. (KJS)




                                Figure 86. (KJS)




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                                Figure 87. (KJS)




                                Figure 88. (KJS)




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                                Figure 89. (KJS)




                                Figure 90. (KJS)




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                                Figure 91. (KJS)




                                Figure 92. (KJS)




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                                Figure 93. (KJS)




                                Figure 94. (KJS)




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                                Figure 95. (KJS)




                                Figure 96. (KJS)




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                                Figure 97. (KJS)




                                Figure 98. (KJS)




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                                Figure 99. (KJS)




                             Figure 100.            (KJS)




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                             Figure 101.            (KJS)




                             Figure 102.            (KJS)




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                             Figure 103.            (KJS)




                             Figure 104.            (KJS)




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                             Figure 105.            (KJS)




                             Figure 106.            (KJS)




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                             Figure 107.            (KJS)




                             Figure 108.            (KJS)




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                             Figure 109.            (KJS)




                             Figure 110.            (KJS)




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                             Figure 111.            (KJS)




                             Figure 112.            (KJS)




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                             Figure 113.            (KJS)




                             Figure 114.            (KJS)




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                             Figure 115.            (KJS)




                             Figure 116.            (KJS)




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                             Figure 117.            (KJS)




                             Figure 118.            (KJS)




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                             Figure 119.            (KJS)




                             Figure 120.            (KJS)




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                             Figure 121.            (KJS)




                             Figure 122.            (KJS)




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                             Figure 123.            (KJS)




                             Figure 124.            (KJS)




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                             Figure 125.            (KJS)




                             Figure 126.            (KJS)




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                             Figure 127.            (KJS)




                             Figure 128.            (KJS)




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                             Figure 129.            (KJS)




                             Figure 130.            (KJS)




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                             Figure 131.            (KJS)




                             Figure 132.            (KJS)




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                             Figure 133.            (KJS)




                             Figure 134.            (KJS)




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                             Figure 135.            (KJS)




                             Figure 136.            (KJS)




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                             Figure 137.            (KJS)




                             Figure 138.            (KJS)




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                             Figure 139.            (KJS)




                             Figure 140.            (KJS)




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                             Figure 141.            (KJS)




                             Figure 142.            (KJS)




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                                   Figure 01. (SRD)




                                   Figure 02. (SRD)




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                                   Figure 03. (SRD)




                                   Figure 04. (SRD)




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                                   Figure 05. (SRD)




                                   Figure 06. (SRD)




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                                   Figure 07. (SRD)




                                   Figure 08. (SRD)




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                                   Figure 09. (SRD)




                                   Figure 10. (SRD)




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                                   Figure 11. (SRD)




                                   Figure 12. (SRD)




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                                   Figure 13. (SRD)




                                   Figure 14. (SRD)




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                                   Figure 15. (SRD)




                                   Figure 16. (SRD)




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                                   Figure 17. (SRD)




                                   Figure 18. (SRD)




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                                   Figure 19. (SRD)




                                   Figure 20. (SRD)




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                                   Figure 21. (SRD)




                                   Figure 22. (SRD)




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                                   Figure 23. (SRD)




                                   Figure 24. (SRD)




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                                   Figure 25. (SRD)




                                   Figure 26. (SRD)




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                                   Figure 27. (SRD)




                                   Figure 28. (SRD)




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                                   Figure 29. (SRD)




                                   Figure 30. (SRD)




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                                   Figure 31. (SRD)




                                   Figure 32. (SRD)




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                                   Figure 33. (SRD)




                                   Figure 34. (SRD)




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                                   Figure 35. (SRD)




                                   Figure 36. (SRD)




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                                   Figure 37. (SRD)




                                   Figure 38. (SRD)




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                                   Figure 39. (SRD)




                                   Figure 40. (SRD)




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                                   Figure 41. (SRD)




                                   Figure 42. (SRD)




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                                   Figure 43. (SRD)




                                   Figure 44. (SRD)




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                                   Figure 45. (SRD)




                                   Figure 46. (SRD)




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                                   Figure 47. (SRD)




                                   Figure 48. (SRD)




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                                   Figure 49. (SRD)




                                   Figure 50. (SRD)




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                                                                       Brabo 002412
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 51. (SRD)




                                   Figure 52. (SRD)




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                                                                       Brabo 002413
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 53. (SRD)




                                   Figure 54. (SRD)




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                                                                       Brabo 002414
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 55. (SRD)




                                   Figure 56. (SRD)




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                                                                       Brabo 002415
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 57. (SRD)




                                   Figure 58. (SRD)




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                                                                       Brabo 002416
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 59. (SRD)




                                   Figure 60. (SRD)




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                                                                       Brabo 002417
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 61. (SRD)




                                   Figure 62. (SRD)




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                                                                       Brabo 002418
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 63. (SRD)




                                   Figure 64. (SRD)




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                                                                       Brabo 002419
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 65. (SRD)




                                   Figure 66. (SRD)




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                                                                       Brabo 002420
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 67. (SRD)




                                   Figure 68. (SRD)




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                                                                       Brabo 002421
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 69. (SRD)




                                   Figure 70. (SRD)




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                                                                       Brabo 002422
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 71. (SRD)




                                   Figure 72. (SRD)




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                                                                       Brabo 002423
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 73. (SRD)




                                   Figure 74. (SRD)




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                                                                       Brabo 002424
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 75. (SRD)




                                   Figure 76. (SRD)




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                                                                       Brabo 002425
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 77. (SRD)




                                   Figure 78. (SRD)




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                                                                       Brabo 002426
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 79. (SRD)




                                   Figure 80. (SRD)




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                                                                       Brabo 002427
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 81. (SRD)




                                   Figure 82. (SRD)




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                                                                       Brabo 002428
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 83. (SRD)




                                   Figure 84. (SRD)




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                                                                       Brabo 002429
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 85. (SRD)




                                   Figure 86. (SRD)




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                                                                       Brabo 002430
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 87. (SRD)




                                   Figure 88. (SRD)




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                                                                       Brabo 002431
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 89. (SRD)




                                   Figure 90. (SRD)




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                                                                       Brabo 002432
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 91. (SRD)




                                   Figure 92. (SRD)




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                                                                       Brabo 002433
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 93. (SRD)




                                   Figure 94. (SRD)




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                                                                       Brabo 002434
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 95. (SRD)




                                   Figure 96. (SRD)




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                                                                       Brabo 002435
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 97. (SRD)




                                   Figure 98. (SRD)




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                                                                       Brabo 002436
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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                                   Figure 99. (SRD)




                               Figure 100.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 101.           (SRD)




                               Figure 102.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 103.           (SRD)




                               Figure 104.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 105.           (SRD)




                               Figure 106.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 107.           (SRD)




                               Figure 108.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 109.           (SRD)




                               Figure 110.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 111.           (SRD)




                               Figure 112.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 113.           (SRD)




                               Figure 114.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 115.           (SRD)




                               Figure 116.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 117.           (SRD)




                               Figure 118.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 119.           (SRD)




                               Figure 120.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 121.           (SRD)




                               Figure 122.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 123.           (SRD)




                               Figure 124.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 125.           (SRD)




                               Figure 126.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 127.           (SRD)




                               Figure 128.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 129.           (SRD)




                               Figure 130.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 131.           (SRD)




                               Figure 132.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 133.           (SRD)




                               Figure 134.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 135.           (SRD)




                               Figure 136.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 137.           (SRD)




                               Figure 138.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 139.           (SRD)




                               Figure 140.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 141.           (SRD)




                               Figure 142.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 143.           (SRD)




                               Figure 144.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 145.           (SRD)




                               Figure 146.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 147.           (SRD)




                               Figure 148.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 149.           (SRD)




                               Figure 150.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 151.           (SRD)




                               Figure 152.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
                                    Roof Photo Log




                               Figure 153.           (SRD)




                               Figure 154.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 155.           (SRD)




                               Figure 156.           (SRD)




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                    Forensic Building Science, Inc.
                          Photo Log – October 14, 2019
                           CLIENT: Brabo International
                 PROJECT ADDRESS: 11909 Auburn Rd, Laredo, TX 78405
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                               Figure 157.           (SRD)




                               Figure 158.           (SRD)




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